Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 1 of 114 PageID #: 1




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                             LAKE CHARLES DIVISION

                                     )
 WALTER WELCH, Individually and      )
 on Behalf of all Others Similarly Situated,
                                     )
                                     )                   CIVIL ACTION NO. ________
                        Plaintiff,   )
                                     )
            vs.                      )
                                                         CLASS ACTION COMPLAINT
                                     )
                                                         FOR VIOLATIONS OF
                                     )
 CHRISTOPHER MEAUX, DAVID                                FEDERAL SECURITIES LAWS
                                     )
 PRINGLE, JEFF YURECKO, TILMAN J.
                                     )
 FERTITTA, RICHARD HANDLER, WAITR
                                     )
 HOLDINGS, INC. f/k/a LANDCADIA
                                     )
 HOLDINGS, INC., JEFFERIES FINANCIAL
                                     )
 GROUP, INC., and JEFFERIES, LLC,
                                     )                   JURY TRIAL DEMANDED
                        Defendants.  )
                                     )


       This action is brought as a class action by Plaintiff on behalf of himself and all others

similarly situated against Waitr Holdings, Inc. (“Waitr” or the “Company”) and certain officers

and directors and other individuals and entities associated with the Company for their violations

of Sections 11, 12 and 15 of the 1933 Securities Act, 15 U.S.C. §§ 77a, et seq. (the “Securities

Act”), and/or Sections 10(b), 14(a) and 20(a) of the Securities Exchange Act of 1934, 15 U.S.C.

§§ 78j(b) and 78t(a), (the “Exchange Act”) and Rule 10b-5 promulgated thereunder by the U.S.

Securities Exchange Commission (the “SEC”) (17 C.F.R. § 240.10b-5), (A) in connection with

Old-Waitr’s (defined below) going public transaction and business combination on November

15, 2018 with Landcadia Holdings, Inc. (“Landcadia”) (the “Going Public Transaction”), and the

follow-on secondary offering on May 16, 2019 (the “Secondary Offering”) of Waitr securities

(the “Negligence” and/or “Strict Liability” claims), and (B) for making materially false and

misleading statements that were published into the market from May 17, 2018 to August 8, 2019
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 2 of 114 PageID #: 2




( the “Class Period”), that Defendants knew and/or recklessly disregarded were materially false

and misleading when made and/or that omitted information necessary to make Defendants’

statements, in light of such omissions, true, accurate and reliable. Plaintiff, through undersigned

counsel, alleges upon personal knowledge with respect to Plaintiff, and upon information and

belief based upon, inter alia, the investigation of counsel as to all other allegations herein, as

follows:

                                                OVERVIEW

        1.       Formed in 2013 in Lake Charles, Louisiana, Waitr Inc. (“Old-Waitr”) 1 (pre-

merger entity) began operations in 2014 as a platform for online mobile food ordering and

delivery service from restaurants. Christopher Meaux (“Meaux”) was co-Founder of Waitr Inc.

and during the Class Period he served as Chief Executive Officer (“CEO”) and Chairman of the

Board of Directors. After a slow start, the Company expanded rapidly, connecting restaurants,

diners and delivery drivers predominately in non-urban “underserved” tertiary-markets as the

popularity of third-party online food delivery “apps” grew. At the same time Waitr was created,

nationally, well-known, well-funded and even profitable competitive brands had already

emerged. Thus, by the inception of the Class Period, Waitr faced strong competition from

Grubhub, DoorDash, and UberEats, which were each dominant primary market participants who

had set their sights on secondary markets.

        2.       Prior to the Going Public Transaction, Landcadia was a special purpose

acquisition company (“SPAC” or “blank check company”) whose business was to effect a

merger, capital stock exchange, asset acquisition, stock purchase, reorganization or similar

business combination with one or more businesses. Landcadia was founded in 2008, and in May


1
 Unless there is significance, pre-acquisition entity Old-Waitr and post-acquisition entity Waitr will be used as
Waitr interchangeably.

                                                       2
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 3 of 114 PageID #: 3




2016, completed an initial public offering raising approximately $250 million. Pursuant to the

terms of its offering, Landcadia and its co-chairmen, Tilman Fertitta (“Fertitta”)—a billionaire

sports, restaurant and casino owner—and Richard Handler (“Handler”)—the CEO of global

investment bank, Jefferies Financial Group, Inc. (“JFG”) (together with its subsidiaries including

Jefferies LLC hereinafter referred to as “Jefferies”)—were required to complete an acquisition

within 24 months, or by June 1, 2018. If, however, Landcadia, Fertitta, and Handler were unable

to complete an initial business combination within that time, Landcadia would be forced to

redeem 100% of its public shares and to liquidate itself at a per-share price, payable in cash and

including interest.

       3.      For Fertitta and Handler the failure to find an acquisition target within the two

years since they raised money using their blank-check company was especially problematic.

First, they set up this SPAC as a pet project to allow the friends an opportunity to combine their

formidable talents and to impress the market with their deal-making acumen, and having to

return shareholder money would evidence a failure of their goals and call into question their

reputation as eminent deal makers. Second, for Jefferies, redemption meant the immediate loss

of at least $10 million in fees, the bulk of which were from already earned but contingent

“deferred underwriting commissions” (tied to the initial Landcadia offering which contemplated

another transaction within 24 months), and from fees related to the takeover acquisition target

(which ended up being Waitr). Ultimately, during the Class Period, Jefferies would extract more

than $15 million in fees from transactions related to Waitr.

       4.      It was with 2 weeks left before Landcadia’s deadline that it announced the last-

minute agreement to enter a combination with Old-Waitr, whereby Landcadia would acquire

Old-Waitr for cash and stock valued at $308 million—with $50 million cash and the remainder



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Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 4 of 114 PageID #: 4




in stock—and whereby post-acquisition entity Waitr shares would immediately begin trading on

the Nasdaq Stock Market (the “Nasdaq”) (as previously defined as the “Going Public

Transaction”). 2 While this was never discussed by Defendants (defined below) or disclosed as a

risk in Landcadia’s SEC filings related to the Going Public Transaction, in fact, the use of the

blank-check/SPAC—Landcadia initially formed as a SPAC whose business was to effect a

merger—to acquire Waitr was fraught with additional risks that were undisclosed at the time of

the merger, but which ultimately subjected investors to devastating and almost complete losses—

90% from the Class Period high of $15.00.

        5.       As investors ultimately learned, a SPAC facing the end of its redemption period

combined with an immature under-developed company that would otherwise have remained

private is a recipe for disaster. A SPAC (with notoriously weak internal controls) incentivized by

its high-fee, low-risk structure faced with an impending redemption is also incentivized to rush

deal(s) and foist heightened and often (as here) undisclosed risks onto investors. While SPACs

may be referred to as “Poor Man’s Private Equity” because of their high 20% fee structure,

SPACs differ from most private equity (“PE”) firms, which invest significant expertise, conduct

massive due diligence, and do not rush into deals.

        6.       Unfortunately for investors none of these additional risks were properly disclosed,

and at the time Waitr shares began trading investors did not know that: (i) Waitr lacked a plan to

achieve profitability and, contrary to Defendant Meaux’s statements, Waitr was not at or near

profitability and Defendants had created the illusion of financial stability by engaging in a host

of illegal and improper activities each designed to inflate revenues and earnings—such as

unilaterally breaking low-rate contracts and imposing significantly higher rates, and by refusing


2
 In connection with Landcadia’s acquisition of Old-Waitr, Plaintiff received Landcadia shares, and upon the closing
of this acquisition Landcadia adopted the name Waitr and ceased independent operations.

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Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 5 of 114 PageID #: 5




to pay drivers for mileage related expenses—both of which ultimately resulted in independent

class action lawsuits; and (ii) Waitr’s technology provided no real advantage, and again contrary

to representations by Defendant Meaux, the Company could not obtain the developer,

programming, or engineering resources necessary to enhance, maintain and develop industry-

leading software from its headquarter location in Lake Charles, Louisiana.

       7.      Moreover, while Defendants consistently promoted Waitr’s competitive

advantages resulting in its lower 15% take rate (the rate that Waitr charged restaurants for

providing food delivery services), they failed to reveal that Waitr had first achieved this rate by

refusing to honor its lower rate contracts, but also that even at 15%, Waitr could not achieve

profitability because its business model based on providing delivery service to small restaurant

operators in “underserved” markets was not sound or sustainable, and the Company required

draconian price increases that Waitr’s core base customers could not afford to pay. Waitr failed

to make these and other necessary disclosures until after Defendants had created the public

market for Waitr stock, and after Waitr had used $100 million of its stock to acquire

BiteSquad.com, LLC (“Bite Squad”), and after Waitr had sold an additional $50 million of stock

into the open market in its Secondary Offering on May 16, 2019.

       8.      Throughout the Class Period, Meaux represented that Waitr could afford to

maintain its 15% take rate, which made the service affordable to its core base of small

restaurants in secondary markets and which also significantly under-cut competitors’ pricing,

because Waitr simply had a better business model. According to Meaux, Waitr employed an

army of tens of thousands of drivers who were full-time employees and, therefore, provided the

Company with fixed-cost labor which Waitr optimized to achieve greater efficiencies and lower




                                                5
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 6 of 114 PageID #: 6




prices. This was purported to provide Waitr the ability to maintain low, affordable, and stable

pricing.

       9.      In fact, as investors ultimately learned, Waitr could not drive any material

efficiencies from its labor model; this model was instead reducing gross margins and increasing

costs. In part this was true because Waitr lacked the sophisticated forecasting resources needed

to deploy its fixed cost labor, especially once the Company rapidly expanded, again constrained

by its lack of high-level programming and development resources. In any event, for Waitr to

claim as it repeatedly did, that it maintained “Capital Efficiency” at any time during the Class

Period was pure sophistry.

       10.     As investors also ultimately learned at the end of the Class Period, Waitr’s

business plan would not work, and the Company could not fund growth with operations because

Waitr could not provide services in remote locations to small customers at a rate that they could

afford (i.e., 15%) and that also allowed Waitr to be profitable. In fact, throughout the Class

Period, Defendants had been clandestinely raising prices in breach of low-rate agreements Waitr

had previously entered into and/or were preparing for massive price increases to cover the

subsidies of providing delivery service. Moreover, it now has been estimated that Waitr may

also owe drivers as much as $800 million in withheld mileage reimbursement payments that

acted as illegal wage kickbacks to the Company, and which resulted in Waitr drivers earning less

than minimum wage of $7.25 per hour (less than half the rates Meaux reported drivers earned in

the Class Period).

       11.     Prior to creating a public market for Waitr shares that could be exploited for

hundreds of millions in stock-based acquisition currency and corporate operating cash (as Meaux

repeatedly stated) Waitr was reasonably constrained by its inability to obtain large amounts of



                                               6
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 7 of 114 PageID #: 7




capital and to grow beyond its means. Investment banks had repeatedly refused to invest in

Waitr and repeatedly warned Meaux that Waitr would be unable to maintain and enhance its

platform technology, and would be constrained by its inability to obtain necessary technology

support in Lake Charles, Louisiana. Meaux—a failed serial entrepreneur who adopted contrarian

views—rejected this and similar business advice at every turn.

        12.     Meaux’s lack of operating experience and history of failures would have put a

reasonable investor on notice that substantial due diligence was required before it was possible to

determine if a public market should have been created for Waitr shares at the time Landcadia

acquired Old-Waitr. In fact, because some investors were probably skeptical of Meaux’s lack of

experience and non-existent resume, at the time Waitr shares began trading, Defendants

represented that Fertitta, who was purported to have unique experience in the restaurant market

and with Waitr specifically, would play a special role at the Company beyond normal board

participation—namely, that he would help guide and manage Waitr, affording it the purported

advantages of his vast resources and experience.

        13.     That assistance and guidance, however, never materialized, and Fertitta did little

more than add Waitr order buttons to websites that belong to Landry’s Inc. (“Landry’s”)—a

restaurant group that owns more than 600 restaurant locations, including more than 60 different

brands—signature group restaurants, which has a Waitr order button at the bottom of one of its

interior pages that can be seen if one scrolls to near where the legal information about Fertitta’s

website is located. 3 No special promotions were ever done, no promised “synergies” ever




3
 No mention of Waitr is made on Landry’s homepage. Instead, however, visitors to www.landrysseafood.com are
greeted with a pop-up screen ad promoting the pre-order of Fertitta’s new book, Shut Up and Listen, purported
“Business Advice from Self-Made Billionaire and Owner of Landry’s Inc., Golden Nugget Casinos and Houston
Rockets.” His business acumen was, apparently, reserved for other endeavors.

                                                     7
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 8 of 114 PageID #: 8




materialized, and investors’ trust that Fertitta would aid in the management of the Company was

misplaced.

       14.    As investors also ultimately learned following the end of the Class Period, the

statements contained in or incorporated in the May 17, 2018 Proxy Statement and the November

19, 2018 Registration Statement (collectively, the “Going Public Transaction Proxy/Prospectus

Filings”) issued in connection with the Going Public Transaction were each materially false and

misleading, for the following reasons, among others:

   •   At the time Waitr began trading publicly it was not true that the Company was on the
       verge of profitability, because Defendants had artificially bolstered profits and revenues
       by unilaterally raising prices in breach of customer contracts and by failing to properly
       reimburse drivers for mileage expenses.

   •   At the time Waitr began trading publicly it was not true that it was providing its services
       at a sustainable low take rate established at 15%.

   •   At the time Waitr began trading publicly it was not true that Waitr was able to extract
       efficiencies from its full time fixed-rate labor force that was purported to allow the
       Company to offer its services at a lower rate than competitors.

   •   At the time Waitr began trading publicly, it was not true that its financial statements and
       SEC reports or its Sarbanes Oxley certifications were true, accurate or reliable.

   •   At the time Waitr began trading publicly, contrary to Defendants’ representations, its
       software provided little or no competitive advantages and what first-mover advantage the
       Company claimed existed, was quickly squandered by the inability to obtain
       sophisticated high-level programmers and software engineers who could enable Waitr to
       refine and develop the software necessary to stay competitive in its market.

   •   As a result of the aforementioned adverse conditions that Defendants failed to disclose, at
       the time Waitr began trading, Defendants lacked any reasonable basis to claim that Waitr
       was operating according to plan, or that Waitr could achieve guidance sponsored and/or
       endorsed by Defendants. Nor was it true that Waitr maintained an adequate system of
       internal controls so as to report and eliminate material conflicts of interest.

       15.    Desperate to create revenues, as soon as a public market for Waitr shares existed,

Defendants immediately announced plans to acquire Bite Squad using $100 million of stock as

currency in the transaction. The Bite Squad acquisition was conducted with little or no due

                                                8
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 9 of 114 PageID #: 9




diligence and with disregard for the fact that Bite Squad’s haphazard structure, caused as a result

of it being cobbled together through 17 other acquisitions, was not consistent with Waitr’s

“contiguous growth” model, whereby the Company grew in an orderly, regional contiguous

expansion. The acquisition of Bite Squad also meant digesting a company of equal size—a

difficult task under ideal circumstances for even experienced management.

       16.     As investors would also soon discover, Defendants were entirely unable to

integrate Bite Squad and now have to run two poorly managed, money losing operations with

little regional overlap and few “synergies.” The first full quarter of Bite Squad’s operating

results revealed the weakness in its operations. Also, as a result of its operational problems and

increased costs and disruptions caused by the Bite Squad merger, Waitr was burning through

cash at an alarming rate. The Company had approximately $123 million of debt and was

operating with significantly negative EBITDA.

       17.     Before the market learned of the significant problems Waitr was having, including

with its integration of Bite Squad, shares of Waitr consistently traded above $10. Waitr took

advantage of the artificial inflation in the price of its stock and filed a Shelf Registration with the

SEC in April 2019, in order to allow Waitr to issue up to $300 million of mixed securities. Soon

thereafter, Waitr shares began to decline—falling below $9.00 in early May 2019 and below

$8.00 by May 15, 2019.

       18.     Against this share price decline Defendants hastily organized a $50 million

Secondary Offering which was priced and sold the next day, May 16, 2019. The Secondary

Offering occurred at prices still artificially inflated by Defendants’ false and misleading

statements to the market, and was effectuated pursuant to a materially false and misleading

Proxy/Prospectus, Prospectus Supplements, and Registration Statement filed with the SEC on



                                                  9
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 10 of 114 PageID #: 10




 April 26, 2019 and May 16 and 17, 2019 (the “Secondary Offering Filings”) that each continued

 to conceal Waitr’s mounting problems and impaired operational and financial condition.

        19.     Investors later learned that Waitr’s Secondary Offering was under-subscribed and

 that Defendant Meaux had spent over $1 million of his personal funds to prop up the Secondary

 Offering and prevent its failure.

        20.     Almost immediately after selling the $50 million in stock in the open market in

 the Company’s Secondary Offering, Defendants belatedly revealed a string of material adverse

 events and information which, despite existing since the inception of the Class Period,

 Defendants had waited to that time to disclose, including:

    •   15% Take Rate Could Not Be Maintained. Waitr belatedly admitted that it could not
        predicate a business of providing food delivery services to small restaurants in secondary
        markets with customers in remote locations at rates affordable to those target restaurants.

    •   Huge Price Increases Were Necessary. Starting August 1, 2019 and with 30 days’
        notice, Waitr raised prices to over 30%, with 25% minimum service fees, 3% mandatory
        service fees and other incremental charges. While the rate scaled down to its historical
        15%, that rate was only for restaurants conducing $20,000 per month in Waitr sales—a
        staggering required amount for a small restaurant in a non-prime market. Fertitta himself
        stated he could not afford 25% - 30% take rates at his restaurants, many of which were
        located in primary markets.

    •   Platform Integration Abandoned. In early August 2019, Waitr belatedly disclosed that
        it had abandoned its quest to become the leading front-of-house restaurant software
        provider that could provide integrated point of service connectivity, and instead
        announced a deal with a competing third party provider to adopt their technology, more
        evidence of Waitr’s inability to capitalize upon any purported first-mover advantage or to
        obtain sufficient technology resources to stay competitive in its industry.

        21.     The draconian price increase resulted in significant and immediate negative media

 attention and loss of corporate goodwill as restaurant owner after restaurant owner—primarily in

 Waitr’s local home-town region—voiced betrayal, shock and disbelief, many announcing that

 they would abandon Waitr and/or join boycotts. The first call for a national boycott against




                                                10
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 11 of 114 PageID #: 11




 Waitr came from the sole restaurant Defendant Meaux singled out as the model of a Waitr

 success during the Company’s Earnings Call for the first quarter of 2019.

        22.     The final shoe fell on Waitr investors on August 8, 2019, the last day of the Class

 Period. That day, Waitr shares collapsed, falling over 50% in active trading as Waitr reported

 abysmal financial and operational results for the second quarter of 2019, and after it was reported

 that Defendant Meaux had been terminated as CEO of the Company (but allowed to remain as

 Board Chairman). Investors then learned that Meaux had been replaced by a 35-year-old with

 very limited relevant work experience, who was promoted within Waitr three times since joining

 the Company in February 2019.

        23.     At that time Waitr also reported massive losses, terrible operating performance,

 huge cost increases, diminishing prospects, and losses accelerating far in advance of any growth.

 Waitr also announced that it had failed to meet guidance, which had recently been reaffirmed.

 Despite raising prices dramatically, Waitr also reduced earnings forecasts by at least 20% on a

 forward-looking basis. Waitr blamed many of its problems on the failure to integrate Bite Squad

 and managements’ resultant loss of focus. At that time the new CEO again reversed course and

 announced that Waitr would abandon its theretofore strategy of hyper-growth and instead focus

 on generating profits and sustaining operations.

        24.     The collapse of Waitr’s share price evidenced investors’ loss of confidence in

 Waitr, its management, and Board. In response to Waitr’s shocking disclosures on August 8,

 2019, the price of Waitr stock crashed from $3.76 per share on August 8 to an intraday low of

 $1.31 before closing the trading-day at $1.89 per share on August 9—a single-day decline of

 50% and a decline of almost 90% from the Class Period high above $15.00, and a loss of almost

 $800 million of market capitalization, all in under 5 months.



                                                 11
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 12 of 114 PageID #: 12




         25.     For these reasons and as set forth in detail herein, Plaintiff seeks to recover

 damages resulting from the Defendants’ violations of the federal securities laws.

                                 JURISDICTION AND VENUE

         26.     Jurisdiction is conferred by §22 of the Securities Act, 15 U.S.C. §77v, and §27 of

 the Exchange Act, 15 U.S.C. §78aa and 28 U.S.C. §1331. The claims asserted herein arise under

 §§11, 12(a)(2) and 15 of the Securities Act, §§77k and 77o, and rules promulgated thereunder by

 the SEC, and §§10(b), 14(a) and 20(a) of the Exchange Act, 15 U.S.C. §§78j(b) and 78t(a), and

 Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. §240.10b-5.

         27.     Venue is proper in this District pursuant to §22 of the Securities Act, §27 of the

 Exchange Act and 28 U.S.C. §1391(b), §1337 and §27, 15 U.S.C. §78aa. Defendant Waitr

 maintains its principal place of business within this District, and/or the individual Defendants

 conduct business in and many of the acts giving rise to the violations complained of herein took

 place in this District.

         28.     In connection with the acts alleged in this Complaint, Defendants, directly or

 indirectly, used the means and instrumentalities of interstate commerce including, but not limited

 to, the mails, interstate telephone communications and the facilities of the national securities

 markets.

                                             PARTIES

         Plaintiff

         29.     Plaintiff WALTER WELCH, as set forth in the accompanying certification,

 incorporated by reference herein, acquired the common stock of Waitr in connection with the

 Going Public Transaction and the Secondary Offering at artificially inflated prices during the

 Class Period and has been damaged thereby.



                                                 12
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 13 of 114 PageID #: 13




        Defendants

        30.    Defendant CHRISTOPHER MEAUX was CEO, Chairman of the Board of

 Directors and co-Founder of the Company during the Class Period.          On August 8, 2019,

 Defendant Meaux was removed from his position as CEO of the Company. During the Class

 Period, Defendant Meaux was instrumental in the preparation of, and/or signed and certified the

 Company’s SEC filings, including but not limited to Waitr’s Form(s) 10-Q and Form 10-K

 and/or the materially false and misleading Secondary Offering Filings, and the materially false

 and misleading Going Public Transaction Proxy/Prospectus Filings.

        31.    Defendant DAVID PRINGLE (“Pringle”) was Chief Financial Officer (“CFO”)

 and Principal Financial Officer of the Company during the Class Period, until his departure in

 April 2019. During the Class Period, Defendant Pringle was instrumental in the preparation of,

 and/or signed and certified the Company’s SEC filings, including but not limited to Waitr’s

 Form 10-K and the materially false and misleading Going Public Transaction Proxy/Prospectus

 Filings.

        32.    Defendant JEFF YURECKO (“Yurecko”) was CFO and Principal Financial

 Officer of the Company, beginning on April 2019 during the Class Period, after replacing

 Defendant Pringle.   During the Class Period, Defendant Yurecko was instrumental in the

 preparation of, and/or signed and certified the Company’s SEC filings, including but not limited

 to Waitr’s Form(s) 10-Q and/or the materially false and misleading Secondary Offering Filings.

        33.    Defendant TILMAN J. FERTITTA is and during the Class Period was a

 member of the Board of Directors of the Company, since Old-Waitr’s acquisition by Landcadia

 on or about November 15, 2018. Defendant Fertitta was also CEO and Co-Chairman of the

 Board of Directors of Landcadia from 2015 to November 2018. According to the Company’s



                                               13
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 14 of 114 PageID #: 14




 releases, Defendant Fertitta purports to be “one of the foremost authorities in the dining,

 hospitality, entertainment and gaming industries.” He is the sole owner and currently serves as

 CEO, Chairman of the Board, and President of Golden Nugget, Inc., Landry’s, and Fertitta

 Entertainment, Inc., and is also the owner of the NBA Houston Rockets. 4 Defendant Fertitta is

 reported in the press to be a close personal friend of Defendant Handler. 5 Defendant Fertitta also

 assisted in the preparation of, and signed Waitr’s Form 10-K and/or the materially false and

 misleading Secondary Offering Filings, and the materially false and misleading Going Public

 Transaction Proxy/Prospectus Filings.

            34.      Defendant RICHARD HANDLER was President and Co-Chairman of the Board

 of Directors of Landcadia during the Class Period, until Landcadia acquired Old-Waitr in

 November 2018, at which time Landcadia ceased operations in favor of Waitr. Defendant

 Handler is also CEO and Chairman of the Board of JFG which, through its underwriting and

 investment banking subsidiaries, earned almost $15 million in fees related to Waitr during the

 Class Period.         Defendant Handler is reported in the press to be close personal friend of

 Defendant Fertitta. During the Class Period, Defendant Handler also signed and/or assisted in the

 preparation of the materially false and misleading Prospectus issued in connection with the

 Going Public Transaction. Handler was also CEO of JFG at such time that Jefferies served as

 underwriter in the Secondary Offering which, as alleged herein, was also accomplished by means

 of a materially false and misleading Secondary Offering Filings in violation of federal law, and

 was also CEO of Jefferies at such time as it collected over $10 million in “deferred underwriting




 4
     After taking Landry’s public in 1993, as sole shareholder, Fertitta took Landry’s private again in 2010.
 5
   In a CNBC Power Lunch interview on May 17, 2019, defendant Fertitta was quoted as stating that, “Rich
 [Handler] is ‘my best friend … Rich is a great friend, a great friend.’”

                                                             14
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 15 of 114 PageID #: 15




 commissions” and fees that were all wholly contingent upon the consummation of the Going

 Public Transaction.

         35.      Defendant WAITR HOLDINGS, INC. is a Delaware corporation with its

 principal place of business located at 844 Ryan Street, Suite 300, Lake Charles, Louisiana 70601.

 According to the Company’s profile, Waitr purports to be a leading online food ordering and

 delivery service connecting local restaurants to diners in underserved markets via its website and

 mobile application (“app”) Waitrapp.com. Prior to being acquired by Landcadia, there was no

 public market for Old-Waitr common stock. Immediately following the acquisition of Old-Waitr

 by Landcadia, on November 16, 2018, Landcadia changed its name to Waitr and shares of the

 new combined entity Waitr began trading on the Nasdaq under the symbol “WTRH.”

         36.      Defendant JEFFERIES FINANCIAL GROUP, INC. and, together with its

 subsidiaries including JEFFERIES LLC, purports to be a diversified financial services

 company engaged in investment banking and capital markets, asset management and direct

 investing. 6 JFC is the parent of Jefferies, LLC. Jefferies’ executive office is located at 520

 Madison Ave., New York, NY 10022. At all relevant times, Defendant Handler, served as CEO

 of JFG. In connection with the Going Public Transaction, Defendant Jefferies was paid at least

 $10 million, all of which was contingent upon the closing of that transaction prior to Landcadia

 shareholders’ redemption date.            Defendant Jefferies was also paid over $2 million in

 underwriting fees in connection with the Company’s Secondary Offering, on or about May 16,

 2019, and millions more in advisory and banking fees in connection with Waitr’s Warrant

 Exchange Offer and acquisition of Bite Squad.



 6
   JFG beneficially owns almost 7% of Waitr common stock, including 753,500 shares beneficially owned by
 Jefferies, LLC. According to its most recent form 10-Q filed with the SEC, Jefferies LLC purports to operate as a
 broker-dealer registered with the SEC and member firms of the Financial Industry Regulatory Authority (“FINRA”).

                                                        15
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 16 of 114 PageID #: 16




         37.    In connection with the Secondary Offering, Jefferies acted as a “Lead

 Underwriter” (collectively with RBC Capital Markets, LLC, the “Underwriters”) of the

 Secondary Offering—distributing over 4.7 million shares of Waitr stock to investors:

                                                                            Number
                                  Underwriters                              of Shares

          Jefferies LLC                                                      4,729,900
          RBC Capital Markets, LLC                                           2,027,100
                                                                        ____________
                      Total                                                  6,757,000

         38.    In connection with the Secondary Offering, the Underwriters received more than

 $3 million in fees—over $2.1 million to Jefferies. The Underwriters were paid at least $0.444

 per share in connection with the sale of the 6.757 million shares. Jefferies was responsible for

 the sale of 70% of the shares in the Secondary Offering and received 70% of the underwriting

 fees.

         39.    Shareholders were willing to, and did, pay these fees—equal to at least 6% of the

 gross sales price—to compensate the Underwriters for conducting a purported significant due

 diligence investigation into Waitr. The Underwriters’ due diligence investigation is a critical

 component of any public stock offering, and it was supposed to provide investors with important

 safeguards and protections when Waitr sold $50 million of stock to the public in May 2019.

 Similarly, for the $10 million in belated underwriting fees (and advisory fees) paid in connection

 with the acquisition by Landcadia of Old-Waitr, investors expected such due diligence to have

 occurred and for the results to have been made known if there were material deficiencies.

         40.    The due diligence investigation that was required by the Underwriters included a

 detailed investigation into Waitr’s operations, accounting, and guidance assumptions that

 extended well beyond a mere casual review of Waitr’s accounting, financial reports, and control



                                                 16
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 17 of 114 PageID #: 17




 statements. The failure of the Underwriters to conduct an adequate due diligence investigation

 was a substantial contributing factor leading to the harm complained of herein.

        41.     Defendants Meaux, Fertitta, Handler, Pringle, and Yurecko are referred to

 collectively and in various combinations herein as the “Individual Defendants.” Each of the

 Individual Defendant at all relevant times had the power to control and did control and direct

 Waitr to engage in the fraudulent, reckless and/or negligent conduct alleged herein.

        42.     The Individual Defendants, Waitr, and Jefferies are collectively referred to herein

 as “Defendants.”

        43.     It is appropriate to treat the Individual Defendants as a group for pleading

 purposes and to presume that the false, misleading and incomplete information conveyed in the

 Company’s public filings, press releases and other publications as alleged herein are the

 collective actions of the narrowly defined group of Defendants identified above. Each of the

 above officers and/or directors of Old-Waitr and/or Landcadia and/or Waitr and/or Jefferies, by

 virtue of their high-level positions or associations with and/or influence over the Company,

 directly participated in the management of the Company, was directly involved in the day-to-day

 operations of the Company at the highest levels and/or was privy to confidential proprietary

 information concerning Waitr and its business, operations, products, growth, financial

 statements, and financial condition, as alleged herein. Accordingly, the Individual Defendants

 were also involved in drafting, producing, reviewing and/or disseminating the false and

 misleading statements and information alleged herein, were aware, or recklessly or negligently

 disregarded, that the false and misleading statements were being issued regarding the Company,

 and approved or ratified these statements, in violation of the federal securities laws.




                                                  17
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 18 of 114 PageID #: 18




        44.     As officers and/or controlling persons of a publicly-held company whose common

 stock was, and is, registered with the SEC pursuant to the Exchange Act, and was traded on the

 Nasdaq, and governed by the provisions of the federal securities laws, the Individual Defendants

 each had a duty to disseminate promptly, accurate and truthful information with respect to the

 Company’s financial condition and performance, growth, operations, financial statements,

 business, products, markets, management, earnings and present and future business prospects,

 and to correct any previously-issued statements that had become materially misleading or untrue,

 so that the market price of the Company’s publicly-traded common stock would be based upon

 truthful and accurate information. The Individual Defendants’ misrepresentations and omissions

 during the Class Period violated these specific requirements and obligations.

        45.     In addition to the foregoing, because of Jefferies’ (as an underwriter) and the

 Individual Defendants’ positions with the Company, they all had access to the adverse

 undisclosed information about Waitr’s business, operations, products, operational trends,

 financial statements, markets and present and future business prospects via access to internal

 corporate documents (including the Company’s operating plans, budgets and forecasts and

 reports of actual operations compared thereto), conversations and connections with other

 corporate officers and employees, attendance at management and Board meetings and

 committees thereof and via reports and other information provided to them in connection

 therewith.

        46.     The Individual Defendants participated in the drafting, preparation, and/or

 approval of the various public and shareholder and investor reports and other communications

 complained of herein and were aware of, or recklessly or negligently disregarded, the

 misstatements contained therein and omissions therefrom, and were aware of their materially



                                                18
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 19 of 114 PageID #: 19




 false and misleading nature, or recklessly or negligently disregarded such materiality. Because

 of their Board membership and/or executive and managerial positions with Old-Waitr and/or

 Landcadia and/or Waitr and/or Jefferies, each of the Individual Defendants had access to the

 adverse undisclosed information about Waitr’s business prospects and financial condition and

 performance as particularized herein and knew (or recklessly disregarded) that these adverse

 facts rendered the positive representations made by or about Waitr and its business issued or

 adopted by the Company materially false and misleading.

        47.     The Individual Defendants, because of their positions of control and authority as

 officers and/or directors of the Company, Landcadia, or Jefferies were able to and did control the

 content of the various SEC filings, press releases and other public statements pertaining to the

 Company during the Class Period. Each Individual Defendant was provided with copies of the

 documents alleged herein to be misleading prior to or shortly after their issuance and/or had the

 ability and/or opportunity to prevent their issuance or cause them to be corrected. Accordingly,

 each of the Individual Defendants is responsible for the accuracy of the public reports and

 releases detailed herein and is therefore primarily liable for the representations contained therein.

        48.     In addition to facing negligence and strict liability claims for providing false

 information in the Going Public Transaction Proxy/Prospectus Filings, and the Secondary

 Offering Filings, and its acquisition of Bite Squad for Waitr stock, Defendants are also liable as a

 participant in an independent and fraudulent scheme and course of business that operated as a

 fraud or deceit on acquirers of Waitr common stock by disseminating materially false and

 misleading statements and/or concealing material adverse facts. This scheme: (i) deceived the

 investing public regarding Waitr’s business, operations, management and the intrinsic value of

 Waitr common stock; (ii) created a public market for common shares of Waitr, which



                                                  19
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 20 of 114 PageID #: 20




 Defendants then used to raise operating cash and as currency for acquisitions; (iii) enabled

 Defendants to register for sale with the SEC and sell over $50 million of Company stock in

 connection with a Secondary Offering during the Class Period while in possession of material

 adverse non-public information about Waitr; (iii) enabled Defendants to use over $100 million of

 Company stock to acquire the assets of Bite Squad during the Class Period; and (iv) caused

 Plaintiff and other members of the Class to purchase Waitr common stock at artificially inflated

 prices during the Class Period and to be damaged thereby.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        49.     Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23 on behalf of

 Plaintiff and class members that purchased, acquired and/or otherwise held the securities of

 Waitr (the “Class”) from May 17, 2018 to August 8, 2019 (as defined earlier as the “Class

 Period”), including, but not limited to, those who acquired Waitr shares in connection with the

 Going Public Transaction, and those who acquired shares of the Company in the May 2019

 Secondary Offering. Excluded from the Class are Defendants herein and any person, firm, trust,

 corporation, or entity related or affiliated with any Defendant.

        50.     This action is properly maintainable as a class action because:

                a.      The Class is so numerous that joinder of all members is impracticable. As

 of August 6, 2019, there were approximately 76.685 million shares of Waitr common stock

 issued and outstanding. The number of Waitr public shareholders will be ascertained through

 discovery;

                b.      There are questions of law and fact that are common to the Class that

 predominate over any questions affecting only individual members, including the following:




                                                  20
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 21 of 114 PageID #: 21




                           i)     whether Defendants have misrepresented or omitted material

         information concerning the Going Public Transaction in the Going Public Transaction

         Proxy/Prospectus Filings, in violation of Section 14(a) of the Exchange Act;

                           ii)    whether Defendants have misrepresented or omitted material

         information concerning the $50 million Secondary Offering, in violation of Sections 11,

         12(a)(2), and 15 of the Securities Act;

                           iii)   whether the Individual Defendants violated Section 20(a) of the

         Exchange Act;

                           iv)    whether Defendants violated Section 10(b) of the Exchange Act

         and Rule 10b-5 promulgated thereunder; and

                           v)     whether Plaintiff and other Class members were damaged thereby.

                 c.        Plaintiff is an adequate representative of the Class, has retained competent

 counsel experienced in litigation of this nature, and will fairly and adequately protect the

 interests of the Class;

                 d.        Plaintiff’s claims are typical of the claims of the other members of the

 Class, and Plaintiff does not have any interests adverse or antagonistic to the Class;

                 e.        The prosecution of separate actions by individual members of the Class

 would create a risk of inconsistent or varying adjudications with respect to individual members

 of the Class, which would establish incompatible standards of conduct for opposing parties; and

                 f.        Defendants have acted on grounds generally applicable to the Class with

 respect to the matters complained of herein, thereby making appropriate the relief sought herein

 with respect to the Class as a whole.




                                                    21
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 22 of 114 PageID #: 22




         51.       A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

 the damages suffered by individual Class members may be relatively small, the expense and

 burden of individual litigation make it impossible for members of the Class to individually

 redress the wrongs done to them. There will be no difficulty in the management of this action as

 a class action.

                                  SUBSTANTIVE ALLEGATIONS

                            Background to the Going Public Transaction

         52.       Landcadia was founded as a SPAC/blank check company whose sole purpose was

 to effect a merger or similar business combination and to acquire the assets of another company.

 Landcadia was incorporated in Delaware in November 2008 and, in May 2016, completed an

 initial public offering selling shares to the public, raising approximately $250 million. In its

 2016 SEC filings, Landcadia stated that, “[a]lthough our efforts to identify a prospective target

 business will not be limited to a particular industry or geographic region, we intend to focus our

 investment opportunities in the dining, hospitality, entertainment and gaming industries in the

 U.S. … Our management team and sponsors have significant experience investing and in

 advising companies in these areas.”

         53.       Pursuant to the terms of its own offering, Landcadia was required to complete an

 acquisition within two years – or by June 1, 2018, at the latest. If Landcadia did not complete a

 contemplated acquisition or combination prior to that time it would be forced to redeem 100% of

 its public shares at a per-share price, payable in cash and including interest. If this was to occur,

 millions of dollars in deferred underwriting commissions would also be forfeited by Landcadia’s

 underwriters, including Jefferies.



                                                    22
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 23 of 114 PageID #: 23




        54.    While Landcadia, Jefferies, Fertitta, and Handler had a full 24 months, and while

 this was the sole purpose for Landcadia’s existence, they were unable to find any suitable

 acquisition or transaction for almost the entire two years. Thus, with only two weeks before the

 June 1st deadline, on May 16, 2018, Landcadia suddenly announced that it had entered into an

 agreement and plan of merger with Waitr Holdings, Inc. and announced the pending acquisition.

 In fact, because there was not even enough time to complete the contemplated transaction,

 Defendant Fertitta was forced to obtain Landcadia shareholder approval to an extension of time

 from June 1, 2018 to December 14, 2018, to complete the Waitr acquisition. The Old-Waitr

 acquisition was ultimately completed with less than 30 days remaining before even the extended

 deadline expired.

        55.    On May 7, 2018, pursuant to a Schedule 14A filed with the SEC, Landcadia

 reported that its shareholder meeting to extend the redemption expiration date was scheduled

 prior to the announcement of the Waitr acquisition. The actual meeting, however, was scheduled

 to take place after the Going Public Transaction was announced.

        56.    A letter to Landcadia shareholders by Fertitta reported what would occur if

 shareholders refused to approve the extension:

        If the Extension Amendment and Trust Amendment proposals are not approved
        and we do not consummate a business combination by June 1, 2018, as
        contemplated by our IPO prospectus and in accordance with our charter, we will
        (i) cease all operations except for the purpose of winding up, (ii) as promptly as
        reasonably possible but not more than ten business days thereafter, redeem the
        public shares, at a per-share price, payable in cash, equal to the aggregate amount
        then on deposit in the trust account, including interest not released to the
        Company to pay franchise and income taxes (less up to $50,000 of such net
        interest to pay dissolution expenses), divided by the number of then outstanding
        public shares, which redemption will completely extinguish public stockholders’
        rights as stockholders (including the right to receive further liquidation
        distributions, if any), subject to applicable law, and (iii) as promptly as reasonably
        possible following such redemption, subject to the approval of our remaining
        stockholders and our Board, dissolve and liquidate, subject in each case to our

                                                  23
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 24 of 114 PageID #: 24




         obligations under Delaware law to provide for claims of creditors and the
         requirements of other applicable law. There will be no redemption rights or
         liquidating distributions with respect to our warrants, which will expire worthless
         if we fail to complete our business combination by June 1, 2018.

         57.      Having raced to enter a merger agreement with Waitr prior to the time Landcadia,

 and Defendants Fertitta and Handler, would be forced to return $250 million, and thus admit that

 the powerhouse combination of the self-promoting billionaire Fertitta and the head of one of the

 nation’s largest investment banks, Handler, could not find an investment for their pet project in

 two years (and prior to such time Jefferies would have to forfeit over $10 million in Underwriter

 fees (much already earned)), Defendants attempted to protect their reputations as high-power

 deal-makers.      The race to market and the use of a special purpose acquisition entity to

 accomplish a stock listing, however, have long been recognized by market commentators as

 presenting very significant and unique market risks. In fact, in August 2013, the New York

 Times published a report, titled “A Thriving Financial Product, Despite a Record of Failure,”

 (“Times Article”) specifically warning of this dangerous combination. The Times Article stated

 as follows:

         Two years may seem a long time, but time runs quickly in finance, and the
         promoters are often rushed to complete an acquisition.

         That means the promoters can make bad choices. According to SPAC Analytics,
         of the 198 SPACs since 2004, 72 have liquidated, earning almost no returns for
         their investors. Even so, liquidation may be the better option. Of the 111 SPACs
         that acquired companies, their average return, according to SPAC Analytics, was
         minus 14.4 percent. By contrast, the Russell 3000-stock index in that same period
         had a positive return of 5.9 percent.

         It’s not just that the returns are terrible. There have been some spectacular failures
         as SPACs have rushed into hot markets like energy, China and even water. 7



 7
             See           https://dealbook.nytimes.com/2013/08/13/a-thriving-financial-product-despite-a-record-of-
 failure/?mtrref=www.google.com&gwh=4A7950D10BC40518F09E3047320B5945&gwt=pay&assetType=REGIW
 ALL (last visited Sept. 26, 2019).

                                                         24
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 25 of 114 PageID #: 25




        58.    Even absent having rushed to complete an acquisition using a SPAC, the Times

 Article reported on the unique risks inherent in investing in any blank check/SPAC company:

        [A] special purpose acquisition company, or SPAC, which raises money through
        an I.P.O. and then casts a wide net in search of a private company to buy. Silver
        Eagle’s I.P.O. is the largest in the past seven years for a SPAC and sure to earn its
        promoters millions, but the outcome is not so clear for its investors or even the
        company itself.

        A SPAC, also known as a blank check company, has been referred to as the poor
        man’s private equity because the promoters of the SPAC get up to 20 percent of
        the equity mostly for finding the target company. The fee is similar to that of a
        private equity firm, as is the idea of picking a company, but a SPAC is not as safe
        or rewarding as private equity. SPAC investors take all of the risk in one company
        instead of a portfolio of companies held by a private equity firm. And unlike a
        private equity firm, which hires the best and the brightest, there have been an
        assortment of SPAC promoters with varying expertise. …

        59.    The Times Article also documented the unsavory history of SPAC promotion:

        In the 1980s, they were rife with fraud, and briefly disappeared from Wall Street
        in the wake of stricter federal regulation. But, like zombies, they reappeared in
        the mid-2000s. Before the credit crisis, these vehicles accounted for nearly 25
        percent of all I.P.O.’s. They are less scandalous, but they still have problems.
        The biggest peril may be that while a SPAC is formed to acquire a company, the
        target is unknown at the time of the I.P.O. The SPAC has a period—nowadays up
        to two years—to complete an acquisition or liquidate.

        60.    The Times Article concludes that “SPACs have brought companies to market that

 do not appear to perform particularly well,” and that the SPAC “failures appear to far outnumber

 the successes.” The Times Article shows how SPACs prove beneficial for hedge funds looking

 to park money and SPAC operators who stand to collect huge fees and carry little risk, and

 concludes that they are good for promoters and hedge funds, but that “the real question is

 whether they are good for the acquired companies.” The Times Article concludes:

        After the acquisition, the companies often appear to perform poorly. The returns
        certainly show this. The stumbles of American Apparel and other SPAC
        acquisitions also show that these companies are sometimes being brought to
        market before they are ready.



                                                 25
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 26 of 114 PageID #: 26




         In other words, SPACs may persist, not because they are good for investors or the
         companies themselves, but because they are a sought-after financial product.

         61.      As addressed in significantly more detail herein, it is obvious Old-Waitr was

 rushed to market, as evidenced, in part, by the lack of credentials and experience of its senior-

 most executive leadership, and the limited history of the Company. Throughout the Class Period

 and until his termination, Waitr was led by a serial failure of an entrepreneur, who was

 reportedly a week away from taking a job as a high school teacher before associating himself

 with the inventors of Old-Waitr, only several years prior to the merger.

         62.      Waitr was purportedly founded in 2013 by Defendant Meaux and 4 college

 students, who came up with the concept at a pitch competition in Gainesville, Florida. Meaux

 has given several media interviews about the moment he, along with maybe four college or post

 college “kids,” came up with the idea for Waitr. According to media accounts, Meaux was at the

 Gainesville competition to pitch a concept called Foogle, which would answer the eternal

 question as to “What’s for dinner,” but did little more. Defendant Meaux quickly abandoned that

 pitch in favor of another group who had the Waitr name, but for a concept that allowed diners to

 order using an app in a restaurant. 8 While this later idea may have given Meaux access to some

 of the back-end that was being used by food delivery companies like GrubHub and UberEats,

 these original concepts were far from what Waitr is (while Waitr is almost exactly what its

 competitors are). The proprietary “platform” that the Company promoted was essentially built in

 less than 1 year by college students.




 8
   The strength of this concept is demonstrated by the fact that, in January 2018, Defendant Meaux was quoted as
 saying that Waitr was going to “roll-out dine-in this year,” which was the original Waitr concept, and now it is
 closing in on the fourth quarter of 2019 but has yet to provide any updates regarding the results of this test.

                                                       26
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 27 of 114 PageID #: 27




           63.      A series of personal interviews with Defendant Meaux document his lack of

 experience in leading a company and reveal a chronic history of Meaux’s business failures since

 college. According to such reports:

           •     In a January 31, 2018 interview published in Wining & Dining magazine, Defendant
                 Meaux stated that in 1987 he met Michael Dell of Dell Computer and was inspired to
                 start building computers while at Louisiana State University (“LSU”) and selling
                 them to small businesses, under the CM Computer brand. By his college graduation,
                 that company had ceased operations. 9

           •     Prior to creating Waitr, Defendant Meaux ran operations for the Swashbuckler’s
                 indoor football team in Lake Charles, Louisiana. After three seasons, the
                 Swashbuckler’s ceased operations in 2013.

           •     In 2009, in the Dallas area of South Lake, Meauxs2Geaux was a virtual restaurant
                 concept where food was prepared in a kitchen only location and where food was
                 ordered from a menu online. Defendant Meaux’s claim, that despite being “fairly
                 successful,” he ceased operations because he could never find a location suitable for a
                 warehouse kitchen, strains credibility.

           •     Cloud computing start-up, based in technology center, Silicon Valley, and still failed.
                 Defendant Meaux claims he almost “lost every penny.” According to Meaux, this
                 company had “a little success,” providing “do-it-yourself” or “DIY” website tools to
                 small businesses to build their own websites (again focusing on small, fractured
                 markets), that “ended up being a colossal failure. … [And] ended up going out of
                 business.” In retrospect, Meaux attributed his personal failure to the market collapse
                 in general as the “bubble burst” in early 2000, causing the many inflated-value and
                 no-value dot.com companies to no longer be able to obtain financing.

           64.      In fact, it was not only Defendant Meaux’s recent past history of business failure

 that should have given Landcadia, Fertitta, Handler, and the rest of the Individual Defendants

 pause as to whether Waitr was ready to be brought to market at that time, but the history of Old-

 Waitr itself warranted extensive due diligence. A host of red flags existed at that time, including

 that:

           •     Defendant Meaux had little or no role in the initial concept, which was online
                 ordering in-house for restaurants (so you never had to talk to a waiter), and had no


 9
     See http://www.thriveswla.com/Blog/BlogDetail.asp?p1=7016&p2=33322&p7=3006 (last visited Sept. 26, 2019).

                                                        27
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 28 of 114 PageID #: 28




               background in programming or engineering. The most relevant experience Meaux
               brought to Waitr was a bachelor’s degree in business from LSU.

         •     The Company had no access to capital. Meaux had been turned down by all venture
               investors as a result of his refusal to move to technology centers where Waitr would
               have access to higher level programming and engineering resources. All capital had
               been raised locally from small business owners and, ultimately, a local National
               Football League (“NFL”) athlete-investor group. The weekend Waitr was purported
               to be invented, Meaux was sleeping in a borrowed RV because he could not afford a
               hotel room, suggesting he had little or no capital and few resources that would have
               enabled him to hyper-inflate the value of the Company and create a market for those
               shares, absent the reckless involvement of Landcadia, Fertitta, Jefferies, and Handler,
               among others.

         •     The Company’s proprietary platform technology that purported to provide Waitr with
               a significant competitive advantage was developed in under a year by former college
               students.

         65.      Ironically, in the same Wining & Dining interview, in response to a question as to

 what he had learned over the years as a result of his chronic failures, Meaux stated that he “used

 to think [he] knew everything and [would] never listen.” He then stated that, “if you listen to

 people, especially those older and wiser, you’ll get valuable information that can help you avoid

 mistakes.” Those words are almost prophetic given Meaux’s entire contrarian business strategy

 and refusal to take any advice from those who told him his plan was destined to fail without

 improvement. As it turned out, one of the Company’s biggest disadvantages was its lack of

 access to high-level programmers and engineers in or near Lake Charles, Louisiana—as Meaux

 was told repeatedly by the venture capitalists who refused to invest unless he moved the

 Company. Thus, despite such resources existing in short supply outside of major technology

 centers, Meaux was repeatedly quoted in the press as saying, “You don’t have to be in Silicon

 Valley to create a technology company. You can do it in Lake Charles, Louisiana.” But as

 Meaux was repeatedly warned and as investors ultimately learned, apparently not. 10


 10
    In a January 31, 2018, New Orleans Business interview Meaux recounted his defiance in the face of experience
 stating, “I remember pitching some VCs in Houston and they sat me down and said, ‘If you’re going to do this

                                                       28
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 29 of 114 PageID #: 29




         66.      In fact, while in early 2018 Meaux stated publicly that he wanted Waitr to be the

 leading platform for front-of-house restaurant operations, whereby the Waitr order manager

 would replace the order entry point at the point of sales system, by the end of the Class Period,

 Waitr had all but abandoned its software development and instead announced it would be getting

 this exact technology that was to be the future of the Company from third-party developer Mobo

 Systems, Inc. d/b/a Olo (“Olo”)—based in New York, New York.

         67.      The deal with Olo, announced on August 5, 2019, revealed to investors for the

 first time that Waitr could not stay competitive in software development and that it could not

 obtain the programmers and engineers necessary to stay at the forefront of its market, and that

 any first mover advantage Waitr had by adopting an established online ordering app designed to

 serve small restaurants in underserved and unprofitable markets was unlikely to be sustained.

 Now that it has effectively outsourced the back end that it was charging restaurants to

 implement, Waitr has become little more than a website that employs delivery drivers.

         68.      It was remarkable that experienced investors like the CEO of Jefferies, head of a

 global investment bank with billions under management, and billionaire restaurant and gaming

 operator Fertitta were not dissuaded by Meaux’s resume at least enough to engage in meaningful

 due diligence prior to creating a public market for tens of millions of shares of Waitr stock. It

 was Meaux himself who confessed to his local newspaper that, the day Waitr stock was listed on

 the Nasdaq on November 16, 2018, “I’m no longer a failed entrepreneur.” He purported to prove

 this in May of 2019, stating, “[i]nvestors who invested in Waitr have made money.”

         69.      Waitr.com app debuted in Lafayette, Louisiana in mid-2015. The app started off

 slowly, scaling to 1000 order per day in 11 cities, primarily in Louisiana, by the end of 2016. By


 you’re going to have to be in Austin or Silicon Valley because you’re not going to find enough software engineers in
 Louisiana.’ They actually said, ‘If we’re going to invest, you have to move the company.’”

                                                         29
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 30 of 114 PageID #: 30




 2017, that number had reached 5,000 orders per day from 150 cities and 6 states—an increase of

 390%, and the Company was purported to be on track to double orders again in 2018.

         70.      Prior to its association with Landcadia, however, Old-Waitr had only raised a

 little over $26 million, as Meaux stated, “almost every dime from investors in Louisiana.” In

 2016, after seeing substantial growth, NFL legend Drew Brees invested $10 million through an

 investment vehicle. Claiming in an early 2018 interview that he “could raise a ton more money

 if we needed to, but we don’t need to,” and that “there is a lot of money in [Louisiana] looking

 for entrepreneurs with great ideas to invest in,” despite immediately following the Going Public

 Transaction and the creation of the public market for Waitr shares, Meaux repeatedly stated that

 Waitr was “capital constrained,” and that it was forced to limit growth. And yet, following the

 Landcadia deal, Waitr focused heavily on growth, even over goals of—or at the expense of—

 profitability.

                          Materially False and Misleading Statements
               Made in Old-Waitr’s Going Public Transaction Solicitation Materials

         71.      Regardless of the issues surrounding the Company, on May 16, 2018, Defendants

 published a press release announcing that Landcadia intended to acquire Old-Waitr for stock and

 cash valued at $308 million. This press release was filed with the SEC with a Form 8-K on May

 17, 2018, and stated the following:

         Landcadia Holdings, Inc. (NASDAQ:LCA), a publicly traded special purpose
         acquisition company, and Waitr Incorporated (“Waitr”), the fast growing
         restaurant platform for online ordering and on-demand food delivery, announced
         today that they have entered into a definitive merger agreement whereby Waitr
         will become a wholly-owned subsidiary of Landcadia. Immediately following the
         proposed transaction, Landcadia intends to change its name to Waitr Holdings
         Inc. and is expected to continue to trade on the Nasdaq stock exchange.

                                             * * *




                                                30
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 31 of 114 PageID #: 31




        Under the terms of the definitive agreement, Landcadia would acquire Waitr for
        $308 million in total consideration. Landcadia will pay a minimum of $50
        million in cash to the equity holders of Waitr at the closing of the proposed
        transaction (including holders of vested options for Waitr shares) with the
        remainder paid in the combined company’s common stock. The net cash
        proceeds from this transaction in excess of those distributed to Waitr’s equity
        holders are expected to be used to fund Waitr’s continued growth in current and
        new markets and allow Waitr to pursue opportunistic acquisitions to grow its U.S.
        footprint.

        Upon the closing of the proposed transaction, Tilman J. Fertitta, will serve as a
        director of the combined company, and in such capacity will be in a position to
        oversee the combined company’s growth and brand building. Chris Meaux,
        founder and Chief Executive Officer of Waitr, and the rest of the Waitr executive
        team will continue in their respective roles in the combined company. Mr. Meaux
        will also be appointed Chairman of the combined company’s board of directors.

 According to the May 17, 2018 Form 8-K, “[Old-]Waitr and its directors and executive officers

 may also be deemed to be participants in the solicitation of proxies from the stockholders of

 Landcadia in connection with the proposed transaction.”

        72.    The May 16, 2018 press release quoted Defendant Fertitta, in part, as follows:

        This transaction with Waitr provides an incredible opportunity for the combined
        company to be the next leader in the fast growing online food delivery market.
        Our experience with Waitr as a partner combines best in class on-demand food
        delivery for diners and a true partnership for restaurants. Our brands and
        customers are critical to our success, and Waitr’s high quality of service reflects
        well on our brands. We have seen firsthand the impact Waitr has had on our
        restaurants, the incremental sales growth it drives, and the positive feedback we
        receive from our customers. Not only am I excited about the Landcadia-Waitr
        transaction, I am also pleased to have Chris and the entire Waitr team as a
        Landry’s delivery partner and look forward to growing successfully together.

        73.    This press release also quoted Defendant Meaux, in part, as follows:

        We are excited to partner with Landcadia and Tilman to accelerate our current
        growth and expand our footprint to new markets. Tilman’s domain expertise and
        his team’s deep experience and knowledge in the restaurant industry is the perfect
        complement to our focus on restaurant partners and our commitment to a unique
        customer experience in the online ordering and food delivery sector.
        Additionally, access to Landry’s portfolio of over 600 restaurants as a delivery
        partner, promotion of Waitr to over four million loyalty members across Landry’s
        restaurants and Golden Nugget Casinos, the opportunity for partnership with the

                                                31
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 32 of 114 PageID #: 32




        Houston Rockets and its more than nine million Facebook followers and also the
        ability to drive elevated traditional and social media exposure both nationally and
        in strategic markets creates an exciting opportunity to accelerate customer
        acquisition.

 This release also stated that Jefferies would be acting as financial and capital markets advisors to

 Landcadia.

        74.     On May 17, 2018, Defendants Fertitta, Meaux, and Pringle participated on a

 conference call for analysts and investors. The transcript for this call was also filed with the SEC

 as an exhibit to Landcadia’s Form 8-K—dated on May 16, 2018 and filed with the SEC on May

 17, 2018—announcing the Going Public Transaction, pursuant to Form 14A as proxy solicitation

 materials. During the call, Defendant Fertitta, stated:

        Landcadia Holdings is an acquisition vehicle that [Handler] and I formed for the
        purpose of conducting a business combination. In May of 2016, Landcadia
        Holdings completed its IPO, raising approximately $250 million. Our mission
        was to find an investment opportunity in the dining, hospitality, entertainment or
        gaming industry. After reviewing so many opportunities, we found Waitr in our
        own backyard, and we believe this transaction really delivers on our investment
        thesis. Waitr is a restaurant ordering and food delivery technology platform based
        in Louisiana. Unlike many of the companies that we looked at, Waitr is a growth
        business with a huge potential and a tremendous complementary relationship with
        my existing businesses. They will also be able to leverage the tremendous
        industry knowledge and expertise Rich and I have. We believe we have an
        incredible opportunity to create the next leader in the fast-growing online food
        delivery market. Waitr is currently a delivery partner for Landry’s and Golden
        Nugget, and we have seen firsthand the impact Waitr has had on our businesses.

                                               * * *

        We believe, number one, there is a massive unpenetrated market for online
        delivery, particularly in the secondary markets. Number two, Waitr has already
        shown tremendous organic growth since their founding in 2013. Number three,
        there are many acquisition opportunities that can help drive additional growth and
        scale throughout the U.S. … They provide, number four, a great customer
        experience and have differentiated the value proposition for restaurant partners,
        which I have experienced firsthand. Number five, they have a very capital
        efficient model, with strong unit economics and a proven track record. Six, they
        have significant operating leverage, on par with industry leaders. Number seven,
        their business is highly complementary with the businesses we run at Fertitta

                                                 32
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 33 of 114 PageID #: 33




        Entertainment. Number eight, as a preferred food and delivery partner for
        Landry’s and the Golden Nugget, Waitr will have brand exposure to our over four
        million loyalty customers; and number nine, finally as a sponsor with the Houston
        Rockets, Waitr’s brand will be exposed to over nine million Facebook followers.

        At the close of this transaction, I will join the Board and tremendously give them
        the guidance of being a public company from ’93 to 2010, besides all my
        expertise in growth and the hospitality and restaurant industry

        75.    On this conference call, Defendant Meaux stated, in part, the following:

        As you guys know, the restaurant delivery market is massive, and we are a first
        mover in the underpenetrated online space. We currently operate in underserved
        markets throughout the southeast. We have a strong value proposition to both
        customers and to restaurants, and we have a very differentiated proprietary
        technology platform in which we operate. Our business to date has had to be very
        capital efficient, and we have proven our ability to grow and expand in strategic
        markets and entrench our competitive positioning in the market.

        We have over 5,000 restaurants on our platform and over 5,800 drivers. Our
        drivers are W2 employees, which gives us some flexibility and control over the
        user experience. ... We have the ability to schedule our drivers, which allows us
        to optimize performance and control quality. Our drivers are readily identifiable
        and uniformed when they show up at the customer’s door, and they like the stable
        job environment that being an employee of Waitr provides, as well as the
        community, of being a part of something real.

        76.    Defendant Meaux used this call to condition investors to believe that Waitr was

 differentiated from its peers and maintained a competitive advantage by having restaurants

 “onboarded,” onto Waitr’s “platform,” and that the Company maintained pricing at 15%—which

 made it possible for small tertiary-market, independent restaurants to join the modern world of

 app-based restaurant delivery. As evidence of this Defendant Meaux stated the following:

        Our platform is further differentiated through our relationship with our restaurant
        partners. In fact, we charge our restaurant partners an upfront fee to onboard onto
        the Waitr platform, and there’s a reason that we do that. For one, they get the
        food photography. They get the menu onboarding using our team to onboard their
        menu, and they get the equipment installed in the restaurant that they need to
        receive the orders. But most importantly, it creates an investment on that
        restaurant’s part in our partnership, and we have found that that investment in the
        partnership is an important part of solidifying the relationship and it gets



                                                33
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 34 of 114 PageID #: 34




        restaurants to promote Waitr inside of their stores, or promote their restaurant on
        Waitr as well.

        We have the most attractive pricing in the industry, at 15% take rate, compared to
        our competitors, which are much higher. We partner with the restaurants on in-
        store marketing. …. [W]hat we’ve found is that restaurants—the longer they’re
        on the platform, they see more benefits from this partnership. In fact, our 2015
        restaurants that signed up with us there have seen almost a twofold increase in the
        average amounts of their orders on Waitr on a monthly basis.

                                              * * *

        We’ve identified over 200 markets within our current operating territory that we
        can expand into. This partnership with Landcadia is going to give us the
        additional capital we need to expand into those markets more quickly and beyond
        just the 11-state area in which we operate today. … [W]e have proven that this
        model is scalable to multiple markets.

        77.    On this call Defendant Pringle also provided forward guidance, in part, as

 follows:

        Now I’d like to walk you through our projections for gross food sales and net
        revenues going forward, and these numbers that I present to you are based upon
        our current rollout plan, which is to launch two new markets per month, and that
        rollout plan is what is anticipated to move forward throughout these projections.
        First, I’ll start with our actual results for 2017. We had $120 million worth of
        gross food sales come through the network, resulting in $27 million worth of net
        revenue to Waitr. For 2018, we’re projecting somewhere between $265 million
        and $275 million of gross food sales going through the platform. That would
        result in somewhere between $60 million and $65 million of net revenue to Waitr.

        For 2019, we’re projecting over $500 million worth of gross food sales through
        the platform, resulting in about $125 million worth of net revenue to Waitr. If we
        carry on out to 2020, again, still at the two markets per month rollout plan, we’re
        projecting over $850 million worth of gross food sales through the platform,
        resulting in somewhere between $200 million and $220 million of net revenue to
        Waitr. So we’re very excited about the future here and the capital that’s going to
        be available to us through this transaction would allow us to accelerate that launch
        plan and perhaps get to those numbers even more rapidly.

        78.    Another exhibit to the Company’s Form 8-K—dated on May 16, 2018 and filed

 with the SEC on May 17, 2018—announcing the Going Public Transaction, pursuant to Form

 14A as proxy solicitation materials was a transcript of Defendant Fertitta’s May 17, 2018

                                                34
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 35 of 114 PageID #: 35




 appearance on financial news network CNBC’s Power Lunch. This interview started off with

 the CNBC host, Tyler Mathisen, asking Fertitta why he changed his mind after previously stating

 that the food delivery business was not a market he had any interest in entering. Fertitta’s

 response was that, “it’s really funny how things change” and that he had seen the increasing

 trends of third-party app-based food delivery at his hundreds of restaurants.                          During this

 interview, Defendant Fertitta also conditioned investors to believe that the Company’s low-cost

 competitive pricing would continue to drive growth, even as Waitr expanded. Fertitta stated, in

 part, as follows:

          Well, one of edges is, is that the restaurant only hits 15%, where I will not use
          GrubHub because they want 25%, or, you know, different parts 20%, 30%. We
          can’t afford to do it, the quality of food that we serve, and so one of the things that
          attracted us to Waitr that got them in our restaurants was the 15%, because they
          hire their own drivers and they can do more deliveries, and we won’t use Uber
          Eats because of the cost to us.[ 11] So, it kind of started getting our attention, and
          then Jefferies and myself, Rich and I were looking for a company to buy with this
          special acquisition corp. and we went to them and—and, you know, they kind of
          liked the idea, because they already had a tie-in with Landry’s, and we started
          talking. I didn’t think we were going to make a deal. As I watched their sales,
          you know, last year $125 million, they’re going to do around $250 million this
          year, and projected to do $500 million next year. I mean, the growth is there, and
          what I like about them is they’re in the smaller markets. We’re the only company
          out that’s going to be public, besides GrubHub. So, I’m excited about it. I wanted
          a real growth company and I think this is it.

          79.      An unidentified speaker on the CNBC interview also grilled Fertitta about there

 being “so many competitors” and that there was little clarity on where the fragmented industry

 was headed, making it very difficult to provide accurate guidance. 12 Fertitta responded:


 11
   It is noteworthy that Fertitta stated that, even with his 400 restaurants, he could not afford to pay more than the
 15% take rate delivery fee offered by Waitr and that fees in the 25-30% range made third-party delivery services not
 economical for even one of the nation’s largest restaurant operators.
 12
   One cannot underestimate the importance of Waitr’s ability to forecast internally, and how critical it was for Waitr
 to be constantly improving its forecasting abilities. Unlike competitors, Waitr had unique risks because its drivers
 were all full-time employees (fixed costs), where competitors hired drivers on an as needed basis, as surge labor,
 with more engaged during periods of peak demand. The ability to integrate weather forecasting into the internal
 labor forecasts for the Company was even critical to Waitr.

                                                          35
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 36 of 114 PageID #: 36




        All we’re going to try to do is apply the same business model that I did in acquiring
        restaurants, is you’ve got to get out there, you want to be the Pacman and you want
        to eat up all the small companies and see what happens. You know, it’s a plan, we
        know how to do it, we’ve been there before. We’re going to have $150 million on
        the balance sheet after this deal, and so we’re going to be in the acquisition mode and
        we want to eat up a lot of the competition and see what happens.

        80.       Defendants filed the merger agreement executed in connection with the

 acquisition of Old-Waitr by Landcadia in the contemplated Going Public Transaction (the

 “Merger Agreement”) as an exhibit to a May 17, 2018 Schedule 14A filing with the SEC. The

 Merger Agreement contained several representations and warranties by each company, including

 the following:

        Section 4.20 Absence of Changes.

        ( a ) Since the date of the most recent balance sheet included in the Interim
        Financial Statements, each Waitr Party has operated its business in the ordinary
        course, consistent with its past practices, and there has not been any been any
        change, development, condition, occurrence, event or effect relating to such Waitr
        Party that, individually or in the aggregate, resulted in, or would reasonably be
        expected to result in, a Waitr Material Adverse Effect.

                                              * * *
        (a)       Representations and Warranties

        (ii)    the other representations and warranties of Waitr contained in Article IV
        shall be true and correct as of the Closing Date as if made at and as of such time
        (except for representations and warranties that speak as of a specific date prior to
        the Closing Date, in which case such representations and warranties need only be
        true and correct as of such earlier date); provided, that this condition shall be
        deemed satisfied unless any and all inaccuracies in such representations and
        warranties, in the aggregate, result in a material adverse effect upon (A) the
        business, results of operations, workforce, prospects, properties, assets, liabilities
        or condition (financial or otherwise) of Waitr or (B) the ability of Waitr to
        consummate the transactions contemplated by this Agreement or to perform its
        obligations hereunder, in each case without giving effect to any limitation as to
        materiality or Waitr Material Adverse Effect set forth therein.

                                              *   *    *

        ( d ) No Waitr Material Adverse Effect. Since the date of this Agreement
        until the Closing Date, there shall not have occurred and be continuing any

                                                  36
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 37 of 114 PageID #: 37




        change, event or effect that, individually or when taken together with all other
        changes, events or effect, constitutes a Waitr Material Adverse Effect.

        81.     Waitr Material Adverse Effect was defined in the Merger Agreement, as follows:

        “Waitr Material Adverse Effect” means, with respect to any change, event, fact
        or condition, individually or in the aggregate, together with all other changes,
        events, facts and conditions that have occurred prior to the date of determination,
        any material adverse effect upon (a) the business, results of operations, workforce,
        prospects, properties, assets, liabilities or condition (financial or otherwise) of
        Waitr, or (b) the ability of Waitr to consummate the transactions contemplated by
        this Agreement or to perform its obligations hereunder …

        82.     On August 2, 2018, Defendants filed with the SEC pursuant to Schedule 14A,

 additional information required in the Going Public Transaction Proxy/Prospectus Filings

 concerning soliciting material pursuant to §240.14a-12, that attached the Company’s Form 8-K

 filing of Waitr’s release of 2018 second quarter business highlights for the period ended June 30,

 2018. This Form 8-K quoted Defendant Meaux, in part, as follows:

        “We are very pleased with the results in the second quarter,” said Chris Meaux,
        founder and Chief Executive Officer of Waitr. “These results exceeded our
        expectations, allowing us to increase our outlook for the year. We believe that
        our strong position in our current markets, proven expansion strategy, strong
        value proposition to customers and restaurants, differentiated proprietary
        technology platform and high growth business model built in a capital efficient
        manner has positioned us well for the long term.”

        “We are excited about the pending merger with Landcadia which we expect will
        provide us with the capital to accelerate our growth in our current markets,
        expand into new markets and take advantage of potential opportunistic
        acquisitions,” continued Meaux. “We are on track to complete the proposed
        transaction later this year.”

 The August 2, 2018 release also purported to provide raised forward guidance and a full year

 2018 Outlook, as follows:

        Full Year 2018 Outlook
                                      Updated Outlook               Previous Outlook
         Gross food sales    Between $260 and $280 million    Between $255 and $275 million
         Revenue             Between $62 and $67 million      Between $60 and $65 million
         Markets             45+                              45+


                                                   37
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 38 of 114 PageID #: 38




         83.     The Schedule 14A filed on October 1, 2018 in connection with the Going Public

 Transaction Proxy/Prospectus Filings, also attached an Investor Presentation dated October 2018

 which purported to represent to investors important information and Company specific metrics,

 in part, as follows:




                                                                                /

         84.     In addition, the October 2018 Investor Presentation also represented the

 following:
                                               38
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 39 of 114 PageID #: 39




        85.    The October 2018 Investor Presentation again highlighted the purported

 “massive” market opportunity that existed in “underserved” markets, as follows:




                                               39
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 40 of 114 PageID #: 40




        86.     Waitr also represented its then-current purported Growth Profile, as follows:




        87.     The October 2018 Investor Presentation again highlighted Waitr’s purported

 competitive pricing model:




        88.     Highlighting Waitr’s purported “Better Business Model,” the October 2018

 Investor Presentation also represented:




                                                40
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 41 of 114 PageID #: 41




        89.    The October 2018 Investor Presentation materials also included Waitr’s purported

 forward guidance and Outlook, as follows:




        90.    On November 8, 2018, Landcadia filed with the SEC pursuant to Schedule 14A,

 definitive additional materials required in Going Public Transaction Proxy/Prospectus Filings,


                                              41
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 42 of 114 PageID #: 42




 which was filed along with the Company’s Form 8-K filing of Waitr’s release of 2018 third

 quarter business highlights for the period ended September 30, 2018, quoted Defendant Meaux,

 in part, as follows:

         “The momentum we experienced in the first half of the year continued into the
         third quarter. Growth in the third quarter was driven by entering 6 new markets
         (32 cities) as well as further penetrating our existing markets,” said Chris Meaux,
         founder and Chief Executive Officer of Waitr. “We remain excited about the
         pending merger with Landcadia as well as the financing agreement to be provided
         by Luxor Capital Group. Both are high quality partners who will further enable
         us to accelerate our growth in our current markets, expand into new markets and
         take advantage of potential opportunistic acquisitions.”

         91.     Despite his self-confessed history of business failure and his statement that he

 never felt success until Waitr began trading on the Nasdaq in November 2019, on November 13,

 2019—still days shy of his revelation—Defendant Meaux provided the keynote address at the

 Entrepreneur Day of Baton Rouge during Enterprise Week. Meaux again used this podium to

 argue publicly that he was right, and all market analysts and venture investors were wrong,

 about: Meaux’s growth projections and ability to scale the Company; and its ability to maintain

 any first mover market advantage with software that had no real distinguishing characteristics,

 other than Waitr’s marketing and service agreements. Meaux was quoted by Businessreport.com

 as having stated, in part, the following:

         You can’t scale if you don’t take action, Waitr founder and CEO Chris Meaux
         said during his keynote address this afternoon at the Entrepreneur Day of Baton
         Rouge Entrepreneurship Week. And the confidence to make business moves
         comes from believing in yourself.
                                              * * *

         “When I pitched to investors, they didn’t believe my projections—I was
         projecting Waitr bringing in $36 million in four years,” Meaux said. “But I
         became a domain expert in the restaurant industry, and it didn’t matter to me that
         they didn’t believe me because I believed me.”

                                              * * *



                                                 42
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 43 of 114 PageID #: 43




          Meaux said he based his original projections on feedback from the kind of
          consumers and restaurants he wanted to serve, as well as his existing industry
          knowledge. He and his co-founders built their entire business plan around those
          findings.

          Though he first approached venture capitalists with his idea, Meaux said they
          quickly wrote him off because he was based in Louisiana and they didn’t think the
          state’s job market was big enough.

          Refusing to accept that, Meaux solicited investors and software engineers who
          lived in other states but were from Louisiana and wanted to move back. The
          method yielded him about $26 million in initial investment. 13

          92.      As investors ultimately learned following the end of the Class Period, the

 statements contained in or incorporated in the Going Public Transaction Proxy/Prospectus

 Filings issued in connection with the Going Public Transaction on or about November 15, 2018,

 referenced above in ¶71 - ¶91 supra, were each materially false and misleading for the following

 reasons, among others:

                   (a)      At the time Waitr began trading publicly, it was not true that the Company

 was at or near profitability because Defendants had artificially bolstered profits and revenues by:

 (i) unilaterally raising prices in breach of customer contracts; and (ii) failing to properly

 reimburse thousands of drivers for driving expenses such that their earnings were not the high

 rate of $15 per hour as represented, but below minimum wage and as low as $2.00 per hour as

 reported by one former driver who sued the Company for Fair Labor Standards Act (the

 “FLSA”) violations in one of two similar class actions 14;




 13
    See https://www.businessreport.com/article/waitr-ceo-chris-meaux-cant-scale-dont-act (last visited Sept. 26,
 2019).
 14
    Class actions alleging violations of FLSA and state law styled as Halley, et al., v. Waitr Holdings, Inc. f/k/a
 Landcadia Holdings, Inc., et al., Civil Action No. 2:19-cv-01800 (the “First FLSA Class Action”) and Montgomery
 v. Waitr Holdings, Inc., Civil Action No. 2:19-cv-02208-EEF-DMD (the “Second FLSA Class Action”) are both
 pending in the United States District Court for the Eastern District of Louisiana, collectively referred to herein as the
 “FLSA Class Actions.”

                                                           43
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 44 of 114 PageID #: 44




                 (b)    At the time Waitr began trading publicly, it was not true that the Company

 was providing its services at a sustainable low take rate established at 15%. First, Waitr had

 breached certain customer contracts to force some customers (who had initially contracted to the

 10% rate) to adopt at the 15% rate which appears 1.5x higher than then contracted rate. Second,

 even at 15% the Company could not possibly operate profitably providing services to small,

 independent restaurants in remote markets (with no available subsidy provided by large,

 profitable urban markets). It was necessary to immediately raise take rates as soon as Waitr

 created a public market for Waitr shares and as soon as it could take advantage of that market by

 selling or issuing stock as currency for acquisitions or to raise cash directly from investors in its

 Secondary Offering;

                 (c)    At the time Waitr began trading publicly, it was not true that Waitr was

 able to extract efficiencies from its full time fixed-rate labor force that was purporting to allow

 the Company to offer its services at a lower rate than competitors, when in fact its W2 labor

 model was inefficient, it resulted in huge costs that could not be sustained (especially, if the

 Company paid all associated labor costs as required by state and federal law), and it resulted in

 Waitr reporting the lowest gross margins among its peers—another material competitive

 disadvantage;

                 (d)    At the time Waitr began trading publicly, it was not true that its financial

 statements and SEC reports or its Sarbanes Oxley certifications were true, accurate or reliable, as

 Waitr had failed to disclose that it had artificially inflated profits and revenues, that it was unable

 to sustain itself even with rates twice its current take rates, that it had failed to disclose known

 adverse trends that were already impacting the Company as required by Item 303 of Regulation




                                                   44
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 45 of 114 PageID #: 45




 S-K, and that the Company lacked adequate systems of controls and procedures to assure the

 truth and accuracy of its reported financial statements and public disclosures;

                (e)     At the time Waitr began trading publicly, contrary to Defendants’

 representations, its software provided little or no competitive advantages. What first-mover

 advantage the Company claimed existed was quickly squandered by its inability to obtain

 sophisticated high-level programmers and software engineers who could enable Waitr to refine

 and develop the software necessary to stay competitive in its market. In fact, while Waitr was

 entirely dependent upon its ability to accurately forecast a myriad of factors necessary to

 accurately predict foreseeable market conditions so that it could deploy its fixed-cost labor (W2

 employees), it became more and more difficult to make accurate predictions as the Company

 exploded in size, in substantial part because Waitr lacked the availability or resources locally in

 its smaller home town of Lake Charles, Louisiana. Moreover, as investors would ultimately

 learn, Waitr was not capable of developing its software so as to remain competitive, much less to

 become the next front-of-house integrated point of sales solution, when Waitr was constrained by

 its inability to attract and retain necessary and qualified developers, programmers and engineers

 in its small market of Lake Charles, Louisiana. Indeed, it was only months before Waitr would

 completely abandon such software development in favor of purchasing a better solution from a

 competitor; and

                (f)     As a result of the aforementioned adverse conditions that Defendants

 failed to disclose, at the time Waitr began trading, Defendants lacked any reasonable basis to

 claim that the Company was operating according to plan, or that Waitr could achieve the

 guidance sponsored and/or endorsed by Defendants. Nor was it true that Waitr maintained an

 adequate system of internal controls so as to report and eliminate material conflicts of interest.



                                                  45
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 46 of 114 PageID #: 46




        93.    At the time Waitr shares began trading, Defendants represented to investors that

 Waitr had a proven, demonstrated model and expansion strategy, and that the partnership with

 Landcadia would foreseeably accelerate growth and provide unique branding opportunities,

 including Defendant Fertitta promoting and overseeing the business development of the

 Company. As a result, Waitr forecasted Gross Food Sales of $255 million to $275 million in

 2018 and $500 million in 2019 and net revenue of $60-65 million in 2018 and $120-$130 million

 in 2019. Moreover, Waitr did not have a proven business model and expansion strategy, its

 revenues would not sustain its operations, and it would be impossible to achieve these results

 without merging with sizable competitors and successfully integrating these competitors into

 Waitr’s operations, something which would entail great risks given CEO Meaux’s limited

 operating experience and history of serial business failures. These representations were also

 false or misleading because Defendant Fertitta would do little or nothing to promote the

 Company, as evidenced by little more than a Waitr order button on the Landry’s website, the

 same as any non-affiliated entity, and Fertitta’s guidance and oversight purported to have been

 backed by decades of running a public company, also do not appear to have materialized or

 benefited Waitr in any material way. Few, if any, of the “Synergies” promised at the time Waitr

 began trading have resulted.

        94.    Defendants’ positive statements and financial forecasts were also materially false

 or misleading at the time Waitr began trading, because, at that time, the cost of revenues was

 suddenly increasing relative to growth, such that Waitr had no viable path to profitability. This

 was especially so since national competitors like Grubhub (public), DoorDash (backed by

 SoftBank) and UberEats were already expanding into Waitr’s once unchallenged markets and

 negatively impacting Waitr’s current and foreseeable future sales. Not only were these bigger,



                                                46
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 47 of 114 PageID #: 47




 better run, and better funded companies with more experience and stronger management, but

 they each had a significantly stronger business model which allowed them to fund growth in

 secondary markets with profits generated in primary markets. 15

         95.      By the time Waitr shares began trading, Waitr had achieved its sales growth by

 partnering with local restaurants and charging them less than the take rates charged by Grubhub

 and other larger competitors, but Waitr was effectively subsidizing these sales, using the

 restaurants own funds, that it had collected in “onboarding” fees. The problem of course, is that

 this was not sustainable, and Waitr could not achieve profitability with its existing contracts.

 Thus, Waitr was already in the process of drastically increasing its prices in a desperate attempt

 to raise revenue by imposing draconian price increases on small independent operators. These

 price increases were evidence that Waitr’s model of providing low-cost services to remote

 markets was not viable, and the huge price increases were a cynical attempt to get customers to

 abandon their contracts so that Waitr did not have to return any of the thousands of dollars paid

 in “onboarding” fees by each restaurant.

         96.      The claims related to the false statements made in the Company’s proxy

 prospectus and solicitation materials related to the Going Public Transaction are based in

 negligence and they do not sound in fraud. Defendants were required to assure that statements

 contained in the Going Public Transaction Proxy/Prospectus Filings or incorporated therein by

 reference, or which were filed as amendments or exhibits thereto, were true, accurate and reliable

 and to not contain any untrue statement of a material fact or omit to include material facts

 necessary to make the statements contained therein not materially false, at that time.



 15
   At that time, analysts compared Waitr’s metrics to Grubhub, another publicly traded third party app-based food
 delivery company, noting that Waitr’s 7,700 restaurants in 235 cities and 850,000 active users was dwarfed by
 Grubhub’s 95,000 restaurants, and 16.4 million active users in 1,700 cities. Analysts also noted that Grubhub was

                                                        47
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 48 of 114 PageID #: 48




                              Materially False and Misleading Statements
                              Made with Scienter During the Class Period

          97.     On November 15, 2018, Landcadia and Waitr announced they had completed the

 Going Public Transaction, pursuant to which Landcadia acquired Old-Waitr for $50 million cash

 and stock valued at $278 million, for total consideration of $308 million. At the same time,

 Landcadia announced that it had changed its name to Waitr Holdings, Inc.—adopting the name

 of Waitr prior to the combination. Thus, beginning the following day, November 16, 2018,

 shares would continue trading on the Nasdaq under the symbol “WTRH.” The effect of this

 transaction was to create, for the first time, a public market for registered shares of Waitr.

          98.     Having created a public market for Waitr common shares valued at nearly $1

 billion, pursuant to materially false and misleading Going Public Transaction Proxy/Prospectus

 Filings issued in connection with the November 15, 2018 Going Public Transaction, Defendants

 next embarked on a scheme and illegal course of conduct to artificially inflate and maintain the

 price of Waitr shares by issuing a series of materially false and misleading statements that

 Defendants knew or recklessly disregarded were materially false and misleading at that time.

 The artificial inflation in the price of Waitr shares during the Class Period also allowed

 Defendants to register and sell an additional $50 million of common stock while in possession of

 material adverse, non-public information about the Company and allowed Defendants to use an

 additional $100 million of artificially inflated Waitr stock as currency for the acquisition of Bite

 Squad.




 profitable, recording $60 million in profits in the then current quarter. Moreover, in 2018 third and fourth quarter
 Grubhub saw approximately $534 million in revenues, while Waitr recorded only $99 million.

                                                         48
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 49 of 114 PageID #: 49




          99.      As evidence of this, in connection with the announcement of the Going Public

 Transaction, on November 16, 2018, Defendants filed with the SEC Form 8-K which include a

 press release dated November 15, 2018 that again quoted Defendant Fertitta, as follows:

          We are pleased to complete the merger with Waitr. I believe they are the best-
          in-class, on-demand food ordering and delivery partner for customers and
          restaurants. They are also positioned well to take advantage of the massive
          unpenetrated market for online delivery, particularly in secondary markets.

 This press release also quoted Defendant Meaux, as follows:

          We are excited to partner with Tilman and the Landcadia team and we believe this
          is a great opportunity. Our combined expertise, experience and resources, and
          being a publicly-traded company will further enable us to accelerate our growth in
          the markets we currently serve, expand into new markets and take advantage of
          potential opportunistic acquisitions.

          100.     The November 15, 2018 press release also mentioned that Jefferies served as

 financial, and lead capital markets advisor and placement agent to Landcadia. What this release

 did not mention was that Jefferies earned $10 million in contingent fees upon the consummation

 of the Going Public Transaction and the creation of a public market for Waitr shares. The

 remuneration to Jefferies was detailed as follows:

          •     Of the $8,750,000 in “deferred underwriting commission” related to Landcadia’s
                2016 IPO, Jefferies was entitled to $3,718,750. In the event an initial business
                combination was not completed within 24 months of the closing of Landcadia’s 2016
                public offering, however, Jefferies would have gotten nothing. Accordingly, if the
                business combination with Waitr—or any other initial business combination—was
                not consummated prior to the required liquidation date, Jefferies would not receive
                any of the deferred underwriting commission and such funds would have been
                returned to Landcadia’s public stockholders upon its liquidation.

          •     $4,500,000 plus expenses 16 as payment for financial advisory services to Landcadia
                in connection with the Waitr going public, all of which became payable, and was
                contingent upon the consummation of the Landcadia transaction.



 16
   Under the terms of Jefferies’ engagement, Landcadia also agreed to reimburse Jefferies for expenses, including
 fees, disbursements and other charges of counsel, and to indemnify Jefferies against liabilities, including liabilities
 under federal securities laws, relating to, or arising out of, its engagement.

                                                          49
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 50 of 114 PageID #: 50




          •   $1,700,000 in fees related to Debt Financings. Upon closing, Jefferies was paid a fee
              in addition to all out-of-pocket expenses (including fees and expenses of its counsel
              and experts) incurred by Jefferies as debt financing Placement Agent, and Waitr again
              agreed to indemnify Jefferies against liabilities arising out of this engagement.

 Jefferies therefore had a financial interest in the completion of the Waitr business combination

 that resulted in the payment of the deferred underwriting commissions and additional fees and

 commissions—over $10 million. Jefferies would soon earn millions more underwriting the next

 $50 million offering of Waitr common stock to the public, and in connection with Waitr’s

 Warrant Conversion and the acquisition of Bite Squad.

          101.     The creation of a public market for Waitr stock attracted the attention of industry

 press and on December 2, 2018, Defendant Meaux conducted another interview published on

 Table.skift.com, which stressed Waitr’s differentiated model of focusing on non-urban markets,

 employing all of the Company’s drivers and maintaining low restaurant fees of 15% to allow

 small restaurants in non-urban markets to afford Waitr’s service offerings. 17 This interview

 revealed that Defendant Meaux had no formal business plan for the Company and, against

 convention, founded Waitr with a one page formulation, after “the lessons that [he] learned in all

 of [his] failures.” Defendant Meaux did, however, acknowledge that this was not conventional

 and that while in business school he was “taught to write a business plan, follow the business

 plan, do these things.”

          102.     In addition to the foregoing, Meaux also used this interview to publicize his

 purported empathy for restaurant operators (“[o]ne of my past failures was a restaurant

 business” 18). He further explained how Waitr’s model of under-cutting Grubhub pricing at the


 17
   See https://table.skift.com/2018/12/03/interview-waitr-ceo-on-failure-persistence-and-delivery/ (last visited Sept.
 26, 2019).
 18
   Presumably, Meaux was referring in this interview to Meaux2Geaux; although Meaux had described this venture
 as “successful.”

                                                          50
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 51 of 114 PageID #: 51




 15% level was essential to allowing restaurants in small markets, “who need every dollar they

 can get,” to optimize the Waitr service.

         103.     Meaux further explained that Waitr was able to offer such a competitive rate

 because of its superior business model, which involved employing its drivers as full-time, W-2

 employees and not as independent contractors paid 1099 wages—the model adopted by

 competitors. Meaux stated that, Waitr employed a driver core that was half of its competitors,

 “because they’re employees of the Company and we can tell them when we need them to work.”

 Additionally, Meaux went on to state:

         So, by having that advantage, we have a fixed cost per hour for our drivers. Then,
         we can leverage that fixed cost to increase profitability for us and then pass that
         on to the restaurants. That’s how we’re able to charge 15 percent.

 When asked by the interviewer if Meaux could give an example of how the fixed costs “play

 out,” he replied, in part, as follows:

         Yeah, so with our drivers, we pay them federal minimum wage. [Currently $7.25
         an hour.] Then we give them additional money for gas, use of their personal
         vehicle, and their phone. We also use a tip credit. If they earn enough gratuities
         to meet the minimum wage requirement, plus the additional that we give them for
         reimbursements, then we can lower our commitment to them. So our cost per
         hour is about $5 per driver.

         Our drivers earn on average $12 to $15 an hour. At $15 an hour, even if you
         subtract the monetary reimbursement, they’re still making $11 to $12 an hour. In
         the small markets that we serve, it’s a really good wage. That’s an advantage for
         us because it allows us to do more orders with fewer drivers, keep our costs per
         delivery down, and then be able to keep our cost to the restaurants down. 19

         In markets where we do have competitors, restaurants will push customers to
         Waitr because we are charging them less. That’s been a big advantage for us.




 19
    Posted on the “Drive for Waitr” section of its website, the Company states that its drivers earn an average of
 $13.00 - $17.00 per hour, keep 100% of tips, and can schedule their own hours. See https://waitrapp.com/ (last
 visited Sept. 26, 2019).

                                                        51
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 52 of 114 PageID #: 52




        104.    Despite having debuted on the public markets less than 3 weeks prior, Meaux was

 already explaining the shift in the Company’s core model focusing primarily upon growth. As

 evidence of this, Meaux continued, in part, as follows:

        Our goal is growth right now. That’s what the market wants to see from us and so
        we’ve told the market that we’re going to continue to invest and grow and we’ll
        do it responsibly because we have to at this point.

        We haven’t had a lot of capital. So we’ve had to grow responsibly. We’ll
        continue to do that, but our focus is going to be on growth. When the market tells
        us [the focus] needs to be on profitability, it’s gonna be on profitability. But right
        now, there’s so much growth to be had.

                                               * * *

        Now we are a public company with $215 million on our balance sheet, a plan for
        growth, and the experienced board to help guide us through that path.

        105.    Meaux also used this interview to assure investors that Defendant Fertitta was

 engaged in management of the growth of Waitr, and that the plan for growth was being guided

 and moderated by an experienced and engaged board. As evidence of this, Meaux also stated, in

 part, the following:

        Tilman’s got a tremendous amount of restaurant experience, a tremendous amount
        of business experience, and he’s been a phenomenal sounding board for me from
        a business perspective. He’s going to remain on our board. If I ever have a
        question about what to do next, I can pick up the phone and call him because he
        ran a public company for 17 years. That’s why we did the deal. We did the deal
        because of Tilman and his experience and what he brings to the table.

        106.    Barely had the ink dried on the acquisition of Old-Waitr when, on December 11,

 2018, the Company announced that it had entered into an agreement to acquire Bite Squad—

 another third-party online restaurant delivery service based in Minnesota—for aggregate total

 consideration of $321.3 million, consisting of 10.6 million shares of Waitr stock and $202.1




                                                 52
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 53 of 114 PageID #: 53




 million cash, in addition to at least $42 million of debt to be incurred at the closing. 20 Bite

 Squad itself was a conglomeration of 17 acquired restaurant-delivery companies scattered across

 the country. At that time, Bite Squad had less than 900,000 active users and 11,000 restaurants

 in 350 cities across 20 states, which was not at all consistent with Waitr’s contiguous expansion

 model. Again, Jefferies served as financial advisor to Waitr in connection with this acquisition.

         107.     Announcing the acquisition of Bite Squad, on December 11, 2018, Waitr filed a

 Form 8-K with the SEC, which included a press release dated December 12, 2018, that quoted

 Defendant Meaux, in part, as follows:

         “We have followed Bite Squad’s growth and success for many years and believe
         their mission, business model and growth profile share many similarities to
         Waitr,” said Chris Meaux, founder and Chief Executive Officer of Waitr.

         “We believe that a small fraction of the U.S. restaurant industry’s sales are from
         off-premise online transactions and this is evolving rapidly. This acquisition will
         help us drive additional growth and provide a step function increase in scale
         throughout the U.S. in order to better serve that developing market.” 21

         108.     Bite Squad was asserted to be a high growth business, with 85% year-over-year

 gross food sales growth and 98% year-over-year revenue growth in 2018 third quarter.

 Accordingly, the release also purported to explain the “Strategic Rationale” for the acquisition,

 as follows:

         •     The combination will significantly expand Waitr’s scale and footprint across
               the U.S., serving a total of over 86 markets in more than 500 cities and 22
               states;

         •     Shared strategy to establish a market leadership position in the cities which
               the Company operates;



 20
    The final aggregate consideration for the Bite Squad Merger consisted of $192.9 million in cash and 10,591,968
 shares of Waitr common stock, with an implied value of approximately $14.25 per share for Waitr stock and based
 on an $11.26 closing share price on December 11, 2018, when announced.
 21
     See https://www.businesswire.com/news/home/20181212005245/en/Waitr-Holdings-Acquire-Bite-Squad (last
 visited Sept. 26, 2019).

                                                        53
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 54 of 114 PageID #: 54




        •   Leverage respective strengths to create a best-in-class organization; and

        •   Opportunity to realize cost synergies.


        109.   On February 10, 2019, at only 53 years old, Defendant Pringle, CFO of Waitr

 announced his “retirement,” effective March 31, 2019.         Defendant Pringle announced his

 resignation less than 3 months after Waitr began trading publicly and only weeks after the

 Company provided very aggressive forward guidance.

        110.   On March 7, 2019, Waitr filed a Form 8-K with the SEC, which included a press

 release announcing financial results for the fourth quarter of 2018 and Full Year 2018, ended,

 December 31, 2018. The press release again quoted Defendant Meaux and stated, in part, that:

        We experienced a year of remarkable growth and operational development in
        2018,” said Chris Meaux, founder and Chief Executive Officer of Waitr. “We
        successfully became a public company through our business combination with
        Landcadia, secured $85 million in private capital from a valued partner,
        organically expanded our footprint and most recently completed the acquisition of
        Bite Squad, an online food ordering and delivery service based in Minnesota. In
        addition, we added valuable leadership experience to our team, expanded our
        technology platform into new underserved markets throughout the United States
        and increased our depth of penetration in our existing markets.

        111.   The press release also provided purported business highlights of the fourth quarter

 of 2018 and Full Year 2018:

        Fourth Quarter 2018 Financial Highlights Compared to Fourth Quarter 2017

        •   Revenue for the fourth quarter of 2018 increased 148% to $21.3 million compared to
            $8.6 million in the fourth quarter of 2017.

        •   Gross Food Sales for the fourth quarter of 2018 increased 113% to $83.4 million
            compared to $39.2 million in the fourth quarter of 2017.

        •   Net loss for the fourth quarter of 2018 was $17.0 million, or $0.52 per diluted share,
            compared to a loss of $15.5 million, or $1.55 per diluted share, in the fourth quarter
            of 2017.

        •   Adjusted EBITDA for the fourth quarter of 2018 was $(6.4) million compared to
            $(3.9) million in the fourth quarter of 2017.

                                                54
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 55 of 114 PageID #: 55




        Full Year 2018 Financial Highlights Compared to Full Year 2017

        •   Revenue for 2018 increased 202% to $69.3 million compared to $22.9 million in
            2017.

        •   Gross Food Sales for 2018 increased 130% to $278.8 million compared to $121.1
            million in 2017.

        •   Net loss for 2018 was $34.3 million, or $2.18 per diluted share, compared to a loss of
            $26.9 million, or $2.69 per diluted share, in 2017.

        •   Adjusted EBITDA for 2018 was $(13.2) million compared to $(13.4) million in 2017.

        112.    The press release reported fourth quarter and full year 2018 financial highlights

 for Bite Squad:

        •   Revenue for the three months and year ended December 31, 2018 totaled $24.8
            million and $83.4 million, respectively.

        •   Gross Food Sales for the three months and year ended December 31, 2018 totaled
            $74.1 million and $255.0 million, respectively.

        113.    Providing a full year 2019 outlook, this release stated that, based on information

 available as of March 7, 2019, Waitr expects to achieve pro forma revenue of approximately

 $250 million for 2019 for the combined Company. The results of operations for Bite Squad were

 included in Waitr’s consolidated financial statements beginning on the acquisition date.

        114.    On the same day, Waitr held a conference call with investors and analysts.

 During the call, Defendant Meaux stated, in part, the following:

        2018 was a transformational year for Waitr. We began year as a high growth
        private company with the bright future went only a few months into the year our
        future became even brighter.

        In May 2018 we entered into a merger agreement with Landcadia Holdings,
        kicking off a series of events that included Investor road shows raising $85
        million in private capital, adding experienced technology and restaurant
        executives to our Board and the bell ringing ceremony celebrating our listing on
        NASDAQ, all the while maintaining our growth minded focus to achieve
        incredible results for the company and our stakeholders.


                                                55
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 56 of 114 PageID #: 56




       Our record results in 2018 tap the remarkable year of growth and operational
       development by our company. Our growth came on the back of our differentiated
       business model and not only it serves consumers with a unique and consistent
       user experience, but provides a valuable brand additive service to our restaurant
       partners.

       A few highlights for the year include, an increase in gross food sales of nearly
       130% to $279 million, revenue growth of over 200% to $69 million, nearly 1
       million active diners on our platform. We solidify our dominance in underserved
       markets including the addition of 109 new cities, added experienced leaders to
       round out our leadership team and finished the year with the balance sheet that
       included over $200 million in cash setting the stage for future organic growth and
       acquisitions in 2019. It truly was an incredible year one that we will not soon forget.

       With the accomplishments of 2018 behind us and a strong balance sheet at year-
       end, we began 2019 focused on the future of Waitr and maintaining that great
       momentum. We kicked off the year with the acquisition of Bite Squad, an online
       ordering and food delivery platform more than doubling the size of our company
       with one acquisition. We are thrilled to welcome Bite Squad into the Waitr
       family and have spent time since the acquisition getting to know their team and
       diligently beginning the integration process of combining the two companies.

       There were many reasons why this combination was right for Waitr, including
       significantly expanding our scale and footprint across the U.S. giving us a more
       national versus regional footprint. Today we serve over 80 markets with more
       than 600 cities and 30 states. Both Bite Squad and Waitr has similar business
       models operating a three sided marketplace, dedicated to serving our restaurant
       partners, active diners and W2 employed delivery drivers. We have a shared
       strategies of entering underserved cities and establishing market dominant
       positions creating the foundation for growth in 2019 and beyond.

       We are able to leverage respective strengths for both companies to create a best-
       in-class organization, which was further expanded on a few weeks ago with our
       leadership transition announcement, strengthening our team. And together we
       expect to achieve net revenue for 2019 of $250 million. Since this is the first of
       what I hope will be many visits we have together, I'd like to share with you our
       vision for 2019 and beyond. The restaurant industry is dynamic and rapidly
       changing and it is our belief that Waitr is well positioned to be a leader in
       underserved markets as the industry evolves.

       We recently outlined this vision to our board and to management. And we all
       agree that to achieve this vision over the next few years, 2019 must be a year of
       hyper focus and successful integration, which will be our foundation for future
       growth and opportunity.

       First, we will accelerate our growth in the markets we currently serve gaining
       depth in restaurant selection and active diners, strengthening our dominance for

                                                 56
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 57 of 114 PageID #: 57




        delivery in underserved markets. We will invest responsibly in these markets to
        capture a larger share than we already have, allowing us to achieve increased
        organic growth throughout the year.

        Second, we will continue to expand into new markets. We've identified new
        markets within our current operating footprint and we can expand into with Bite
        Squad, this will allow this will now happen at a faster pace. We expect to add
        services around 200 cities in 2019 inside and out of our current footprint.

        115.   On the conference call, Alex Fuhrman, an analyst with Craig-Hallum Capital

 Group LLC (“Craig-Hallum”), asked for guidance on profitability and EBITDA for 2019 and

 2020. The exchange with Defendant Meaux included, in part, the following:

        Alex Fuhrman
        [A]s you think about your guidance for next year, would it be possible for you to
        give us a better sense of how much of that $250 million of revenue we should
        expect to see from each of the 2 brands? And is there anything you can tell us a
        little bit more about profitability? … [A]nything you could tell us about your
        expectations for EBITDA as the year progresses? Or how we should think about
        it over the next couple of years would be very helpful.

        Christopher Meaux
        Yes, Alex, I'm going to take the second half of that question and then Jeff can
        expand on it. But as far as EBITDA and profitability, we -- as most people know,
        we're a very rapidly growing company and we're going to continue to grow
        rapidly again in 2019. And so because we're a growth-oriented company, we're
        making investments in growth and we're going to continue to make those
        investments.

        116.   These positive statements were false. As Defendants knew but failed to disclose

 at that time, Waitr’s business was unraveling: after providing 2018 and 2019 full year earnings

 guidance in a proxy filed November 2018, Defendant Pringle, the CFO “retired” at age 53, and

 Waitr materially missed its full year 2018 earnings guidance and refused to provide any earnings

 guidance for full year 2019, as Waitr’s business was being decimated by competition from




                                               57
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 58 of 114 PageID #: 58




 GrubHub, DoorDash and other bigger competitors. 22 Thus, Waitr’s “hyper growth” story was

 false.

          117.    Waitr saw a pronounced slowdown in its sequential growth rate in 2018 fourth

 quarter because, after years of operating in markets without competition, Grubhub and

 (SoftBank-funded) DoorDash entered Waitr’s primary markets.                        By this time, DoorDash

 overlapped with Waitr in 46% of its markets, and GrubHub and Waitr overlapped in 75% of

 markets in Georgia and competed in 41% of the same markets in Texas. In the case of UberEats,

 the overlap with Waitr increased from 2.4% in January 2018 to 9.8% in July 2108 to 35% by

 March of 2019.

          118.    On February 27, 2019, the First FLSA Class Action was filed against Waitr in the

 United States District Court for the Eastern District of Louisiana by its drivers who alleged that,

 because Waitr does not pay mileage expenses, drivers net pay actually falls below the minimum

 wage. The provision known as the “kickback rule” in the FLSA requires that employees are paid

 minimum wage free and clear of the cost of doing business. When expenses cause take-home

 pay to fall below minimum-wage, employers are required to supplement such pay to a federally

 guaranteed minimum of $7.25 per hour. As a result of Waitr classifying 95% of its employees as

 W2 employees, it was required to comply with such rules.

          119.    Shortly thereafter, on March 8, 2019, the Second FLSA Class Action was filed in

 the United States District Court for the Eastern District of Louisiana, for unpaid minimum

 wages, overtime pay damages, penalties, and attorney fees and expenses. This action includes a

 plea for injunctive relief under the FLSA and state law. The plaintiff in this action claims she



 22
    For example, in the period between third quarter of 2018 and fourth quarter of 2018, Grubhub grew revenues at a
 12% sequential rate off a base of almost $250 million, while Waitr only grew revenues by $2 million in absolute
 terms and 9% in relative terms off an insignificant revenue base of under of under $20 million.

                                                        58
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 59 of 114 PageID #: 59




 received a net pay of less than $2.00 per hour after she worked over 28 hours and drove over 280

 miles delivering food to customers, a result of not being reimbursed for mileage expenses.

            120.   Defendant Meaux immediately responded. He was quoted by the local press as

 saying that the FLSA Class Actions were nuisance suits, and that they are just the cost of “doing

 business,” adding “[t]hat’s why we hire lawyers too.” 23 And, rather than correct his prior false

 statements that Waitr had reimbursed its drivers for mileage expenses—when it apparently does

 not—Defendant Meaux instead blamed drivers for not understanding how they were paid. As

 evidence of this, Defendant Meaux stated:

            “If maybe a few drivers don’t understand exactly how they got paid, we can’t
            control that except maybe communicate better with those folks.”

            He said Waitr has introduced a monthly drivers newsletter and made other efforts
            to deal with driver grumbles.

            “Some drivers didn’t understand how they were paid so we tried to clarify that in
            info about how they’re paid,” he said.

            121.   In essence, Meaux simply denied the claims in the FSLA Class Actions and

 basically accused the drivers of not knowing how they were paid. The Second FSLA Class

 Action court, however, found that “[p]laintiff’s claim that Waitr did not adequately compensate

 them given the cost associated with their vehicles is cognizable under FLSA.” The Second

 FSLA Class Action Dkt. 32.           Similarly, the financial press took these actions much more

 seriously and compered them with successful actions previously filed against national pizza

 delivery chains such as Domino’s, Pizza Hut and Papa John’s. 24 On March 28, 2019, Anthony

 McAuley of Nola.com wrote as follows:



 23
   See https://www.nola.com/news/business/article_df1969ca-14c0-56c9-8ec7-de4dadfbc5fa.html (last visited Sept.
 26, 2019).
 24
      Id.

                                                      59
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 60 of 114 PageID #: 60




        [I]n the Uber cases, where the argument has been that drivers were underpaid
        because they were “misclassified” as independent contractors, the lawsuits filed in
        the Eastern District of Louisiana court against Waitr in February claim that even
        directly-employed drivers were underpaid because their net compensation fell
        below the mandated minimum wage.

        That makes the lawsuits more akin to those brought by drivers in several states
        against Papa John’s, Domino’s and Pizza Hut franchisees, which resulted in
        multimillion-dollar settlements, according to Bohrer Brady lawyers, which are
        representing the plaintiffs in the first case filed.

        122.   On March 15, 2019, Waitr filed with the SEC pursuant to Form10-K its financial

 results for the fourth quarter and full year 2018, the period ended December 31, 2018. The Form

 10-K was signed by Defendants Fertitta, Meaux and Pringle.

        123.   According to the 2018 Form 10-K, the Company’s financial reporting had been

 prepared in accordance with Generally Accepted Accounting Principles (“GAAP”), as follows:

        Basis of Presentation and Summary of Significant Accounting Policies

        Basis of Presentation
        The consolidated financial statements and accompanying notes have been
        prepared in accordance with GAAP and in accordance with the rules and
        regulations of the United States Securities and Exchange Commission (“SEC”).

        Principles of Consolidation
        The accompanying consolidated financial statements include the accounts of the
        Company and all wholly-owned subsidiaries. Intercompany transactions and
        balances have been eliminated upon consolidation. Reclassification Certain prior
        period amounts included in the consolidated statements

        124.   Regarding the purported adequacy of the Company’s controls and procedures, the

 2018 Form 10-K stated, in part, the following:

        Item 9A. Controls and Procedures

        Evaluation of Disclosure Controls and Procedures As required by Rule 13a-15(b)
        of the Exchange Act, we have evaluated, under the supervision and with the
        participation of our management, including our principal executive officer and
        principal financial officer, the effectiveness of the design and operation of our
        disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e)
        of the Exchange Act) as of the end of the period covered by this Form 10-K. Our

                                                  60
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 61 of 114 PageID #: 61




        disclosure controls and procedures are designed to provide reasonable assurance
        that the information required to be disclosed by us in reports that we file or submit
        under the Exchange Act is accumulated and communicated to our management,
        including our principal executive officer and principal financial officer, as
        appropriate, to allow timely decisions regarding required disclosure and is
        recorded, processed, summarized and reported within the time periods specified in
        the rules and forms of the SEC. Based upon the evaluation, our principal
        executive officer and principal financial officer have concluded that our
        disclosure controls and procedures were effective as of December 31, 2018 at the
        reasonable assurance level.

        125.    In addition to signing the 2018 Form 10-K, Defendants Meaux and Pringle also

 signed Sarbanes Oxley certifications that purported to certify and attest to the truth, accuracy,

 and completeness of the entire Form 10-K. These certifications stated, in part, the following:

        1. I have reviewed this Annual Report on Form 10-K of Waitr Holdings Inc.;

        2. Based on my knowledge, this report does not contain any untrue statement of a
        material fact or omit to state a material fact necessary to make the statements
        made, in light of the circumstances under which such statements were made, not
        misleading with respect to the period covered by this report;

        3. Based on my knowledge, the financial statements, and other financial
        information included in this report, fairly present in all material respects the
        financial condition, results of operations and cash flows of the registrant as of,
        and for, the periods presented in this report;

        4. The registrant’s other certifying officer and I are responsible for establishing
        and maintaining disclosure controls and procedures (as defined in Exchange Act
        Rules 13a-15(e) and 15d-15(e)) and internal controls over financial reporting (as
        defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
        have:
               a) Designed such disclosure controls and procedures, or caused such
        disclosure controls and procedures to be designed under our supervision, to ensure
        that material information relating to the registrant, including its consolidated
        subsidiaries, is made known to us by others within those entities, particularly
        during the period in which this report is being prepared;

                b) Designed such internal control over financial reporting, or caused such
        internal control over financial reporting to be designed under our supervision, to
        provide reasonable assurance regarding the reliability of financial reporting and
        the preparation of financial statements for external purposes in accordance with
        generally accepted accounting principles;



                                                 61
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 62 of 114 PageID #: 62




                c) Evaluated the effectiveness of the registrant’s disclosure controls and
        procedures and presented in this report our conclusions about the effectiveness of
        the disclosure controls and procedures, as of the end of the period covered by this
        report based on such evaluation; and

                d) Disclosed in this report any change in the registrant’s internal control
        over financial reporting that occurred during the registrant’s most recent fiscal
        quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that
        has materially affected, or is reasonably likely to materially affect, the registrant’s
        internal control over financial reporting; and

        5. The registrant’s other certifying officer and I have disclosed, based on our most
        recent evaluation of internal control over financial reporting, to the registrant’s
        auditors and the audit committee of the registrant’s board of directors (or persons
        performing the equivalent functions):

                a) All significant deficiencies and material weaknesses in the design or
        operation of internal control over financial reporting which are reasonably likely
        to adversely affect the registrant’s ability to record, process, summarize and report
        financial information; and

                b) Any fraud, whether or not material, that involves management or other
        employees who have a significant role in the registrant’s internal control over
        financial reporting.

        126.   The statements contained in Waitr’s 2018 Form 10-K and the other public

 statements made by Defendants and reproduced herein, in ¶110 - ¶125 supra, were each

 materially false and misleading when made, and/or omitted to report material facts necessary to

 make such statements true, accurate and reliable, in light of circumstances that existed at that

 time, and were known by Defendants to be false at that time, or were recklessly disregarded as

 such thereby for the following reasons, among others:

               (a)     At that time it was not true that the Company was performing according to

 plan and fourth quarter, which was expected to be a seasonally strong quarter (when people stay

 inside and order food, headed into the Winter), evidenced a significant slowdown in sequential

 growth, implied negative 2019 EBITDA of ($30 million), material underperformance when




                                                  62
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 63 of 114 PageID #: 63




 compared to competitors such as Grubhub (while spending increased), and staggering EBITDA

 losses, which were all endemic of the Company’s failing model and dwindling prospects; and

                (b)     At that time, while Defendants belatedly disclosed the existence of the two

 FLSA Class Actions against the Company, Waitr still failed to disclose the extent of this problem

 and the foreseeable material impact, estimated to be as much as 50% of an employee’s

 compensation and with a profit and loss impact as high as $800 million, that this was likely to

 have on the Company’s earnings and balance sheet;

                (c)     At that time, it was not true that the Company was or could become

 profitable when Defendants had artificially bolstered profits and revenues by unilaterally raising

 prices in breach of customer contracts, and by failing to properly reimburse drivers for mileage

 expenses;

                (d)     At the time it was not true that the Company was providing its services at

 a sustainable low take rate established at 15%. First, Waitr had breached certain customer

 contracts to force some customers (who had initially contracted to the 10% rate) to adopt at the

 15% rate which appears 1.5x higher than then contracted rate.           Second, even at 15% the

 Company could not possibly operate profitably providing services to small, independent

 restaurants in remote markets (with no available subsidy provided by large profitable large urban

 markets), and it was necessary to immediately raise take rates as soon as Waitr created a public

 market for Waitr shares and as soon as it could take advantage of that market by selling or

 issuing stock as currency for acquisitions or to raise cash directly from investors in its Secondary

 Offering;

                (e)     At the time it was not true that Waitr was able to extract efficiencies from

 its full time fixed-rate labor force that was purporting to allow the Company to offer its services



                                                 63
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 64 of 114 PageID #: 64




 at a lower rate than competitors. In fact, its W2 labor model was inefficient, it resulted in huge

 costs that could not be sustained (especially, if the Company paid all associated labor costs as

 required by state and federal law), and it resulted in Waitr reporting the lowest gross margins

 among its peers—another material competitive disadvantage;

                (f)     At the time it was not true that its financial statements and SEC reports or

 its Sarbanes Oxley certifications were true, accurate or reliable, as Waitr had failed to disclose

 that it had artificially inflated profits and revenues, that it was unable to sustain itself even with

 rates twice its current take rates, that it had failed to disclose known adverse trends that were

 already impacting the Company as required by Item 303 of Regulation S-K [17 C.F.R. §

 230.303(a)(3)(ii)], and that the Company lacked adequate systems of controls and procedures to

 assure the truth and accuracy of its reported financial statements and public disclosures;

                (g)     At that time Waitr’s “proprietary technology” provided little or no

 competitive advantages and what first-mover advantage the Company claimed existed was

 quickly squandered by its inability to obtain sophisticated high-level programmers and software

 engineers who could enable Waitr to refine and develop the software necessary to stay

 competitive in its market.      In fact, at that time, it was only months before Waitr would

 completely abandon its integrated point of sales software development in favor of purchasing a

 better solution from a competitor; and

                (h)     As a result of the aforementioned adverse conditions that Defendants

 failed to disclose, at that time Defendants lacked any reasonable basis to claim that the Company

 was operating according to plan or that Waitr could achieve guidance sponsored and/or endorsed

 by Defendants. Nor was it true that Waitr maintained an adequate system of internal controls so

 as to report and eliminate material conflicts of interest.



                                                   64
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 65 of 114 PageID #: 65




        127.    Other than a trademark dispute, the 2018 Form 10-K did not report any lawsuits

 expected to have a material adverse impact on the Company, other than those occurring in the

 normal course of business. Accordingly, no mention of the FLSA Class Actions was reported at

 that time.

        128.    While Waitr failed to report the FLSA Class Actions, and regardless of the

 foreseeable material impact on Waitr, a much more serious, third purported class action was filed

 against Waitr on April 30, 2019 in the United States District Court for the Western District of

 Louisiana, which was styled Bobby’s Country Cooking LLC v. Waitr Holdings Inc., Case No.

 2:19-cv-00552-TAD-KK (the “Restaurant Partners’ Class Action” ). The Restaurant Partners’

 Class Action revealed for the first time that Waitr had inflated its reported revenues prior to the

 Going Public Transaction by unilaterally breaking contracts and imposing higher rates on

 certain of its restaurant customers. The Restaurant Partners’ Class Action seeks damages for

 breach of contract, violation of the duty of good faith and fair dealing and unjust enrichment.

        129.    The plaintiff in the Restaurant Partners’ Class Action claims to have had a one-

 year contract with Waitr that provided for a Service Transaction Fee of 10%, that could not be

 changed or modified absent written agreement of the parties. The Restaurant Partners’ Class

 Action plaintiff further states that Waitr unilaterally, with 30 days’ notice, raised its Service

 Transaction Fee to 15%. The Restaurant Partners’ Class Action complaint points out that, “Waitr

 imposed this unlawful price increase after announcing its acquisition by an investment fund

 [Landcadia], but shortly before its initial public offering, suggest[ing] an intent to maximize

 potential revenue with disregard for its contractual obligations to its customers. … [And] as part

 of a broad strategy to increase revenue and profit prior to the sale and public offering of the

 Company.”



                                                 65
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 66 of 114 PageID #: 66




        130.   On May 8, 2019, Waitr filed a Form 8-K with the SEC, which included a press

 release announcing results for first quarter 2019, the period ended March 31, 2019. This press

 release again quoted Defendant Meaux, as follows:

         We are very pleased with our results this quarter, including revenue growth of
        287%, which was a combination of Waitr driven organic growth and the
        successful acquisition of Bite Squad on January 17,” said Chris Meaux, founder
        and Chief Executive Officer of Waitr. “Importantly, we continued to accelerate
        growth in the markets that we currently serve by increasing restaurant selection
        and growing our active diner base. During the first quarter, we added more than
        3,600 restaurants, more than 240,000 active diners and we continued to expand by
        adding service to 49 new cities. Our continued rapid growth gives me confidence
        that we have the right team, the right business model and the right technology in
        place to optimize our pursuit of the large and growing off premise market in the
        United States. 2019 is proving to be a transformational year as we invest in
        continued growth, integrate Bite Squad and make strategic infrastructure
        investments that will strengthen our foundation and allow us to grow aggressively
        and efficiently into 2020 and beyond.

        131.   The May 8, 2019 press release also provided purported Financial Highlights and

 Key Business Metrics, as follows:

        First Quarter 2019 Financial Highlights

        •       Revenue for the first quarter of 2019 increased 287% to $48.0 million
               compared to $12.4 million in the first quarter of 2018. Revenue related to
               the Bite Squad Merger totaled $22.9 million from the acquisition date
               through March 31, 2019. On a pro forma basis, revenue for the first
               quarter of 2019 increased 78% to $52.3 million compared to $29.4 million
               in the first quarter of 2018.

        •       Net loss for the first quarter of 2019 was $24.7 million, or $0.38 per
               diluted share, compared to a loss of $3.4 million, or $0.34 per diluted
               share, in the first quarter of 2018. Net loss included $6.9 million of one-
               time business combination specific expenses related to the Bite Squad
               transaction and $2.1 million of non-cash stock compensation expenses.

        •       Adjusted EBITDA for the first quarter of 2019 was a loss of $9.9 million
               compared to a loss of $2.1 million in the first quarter of 2018.

        First Quarter 2019 Key Business Metrics




                                               66
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 67 of 114 PageID #: 67




          •         Gross Food Sales for the first quarter of 2019 increased 215% to $170.4
                   million compared to $54.1 million in the first quarter of 2018. Gross Food
                   Sales related to the Bite Squad Merger totaled $70.4 million from the
                   acquisition date through March 31, 2019.

          •         Active Diners for the first quarter of 2019 increased 309% to 2.2 million
                   compared to 541.9 thousand for the first quarter of 2018. Active Diners
                   related to the Bite Squad Merger totaled 1.1 million as of March 31, 2019.

          132.     The May 8, 2019 press release also provided purported increased forward

 guidance and a Full Year 2019 Outlook, as follows:

          Full Year 2019 Outlook

          The combination of our strong start to the year, progress in new markets and most
          importantly positive momentum in existing markets makes us increasingly
          confident that we will now exceed our initial pro forma revenue guidance of $250
          million.

          133.     On May 8, 2019, Defendants Meaux and Yurecko hosted a conference call for

 analysts and investors during which they again conditioned the market to believe that Waitr’s

 purportedly proven business model and robust technology platform were providing Waitr with

 significant competitive advantages. 25 As evidence of this, Meaux stated, in part, the following:

          When we founded Waitr in 2013, we couldn’t imagine that the company would
          become what we are today. Our founding strategy to serve smaller markets in the
          U.S. continues to pay off. Our business model has proven to be an advantage
          over competitors in the small and midsized markets that we serve. These markets
          are won at the local level, and our proven playbook is local market focused.
          Therefore, national scale is not always an advantage to winning at a hyperlocal
          layer.

          We cater to the wants and needs of the community for consumers and restaurant
          partners alike. Our technology platform is purpose built to serve restaurants and
          consumers in small to medium markets. Our routing algorithms are optimized for



 25
   The level of detail Meaux provided on this call was highly unusual for a quarterly conference call. However, once
 Meaux turned the call to Defendant Yurecko, he immediately qualified the statements by adding that, “[a]s a newly
 public company … and given our unique focus on small and midsized cities, we wanted to help you to know our
 business a little bit better. This will not be a regular presentation, and we do not intend to update or release similar
 information on a regular basis, but we felt it warranted to share some information just this one time.”

                                                           67
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 68 of 114 PageID #: 68




          getting food to customers by car in the more spread-out geographies, creating
          leverageable advantages in our business model. …[ 26]

          Our W2 drivers are uniformed and trained to represent our brand to be an
          extension of our restaurants. This enhances the quality of the experience for both
          restaurants and consumers. These are all advantages for Waitr over larger
          competitors in the markets we serve and provide a path for growth for our
          restaurant partners….

          Our hyper-local focus was further expanded with the acquisition of Bite Squad in
          January.

          134.     Regarding the success of the integration of Bite Squad—now after a full quarter

 to assess the situation—Defendant Meaux conditioned investors to believe that the Bite Squad

 integration was on track and according to plan. As evidence of this, Defendant Meaux stated, in

 part, the following:

          I am happy to report that the integration of the combined company is moving
          along nicely. We started unlocking the value of integration with the consolidation
          of the leadership team as reported in February. Since then, we have achieved
          nearly complete integration of marketing, accounting and sales and have made
          significant progress toward the integration of restaurant operations, customer
          support and technology. We expect to achieve full integration in the first half of
          2020.

          After the Bite Squad acquisition, we now have a hyper-local but national
          footprint, serving customers in over 700 cities in 29 states, and we continue to
          expand rapidly and successfully in local markets across the nation. In the first
          quarter of 2019, we added approximately 50 new cities in three states to the Waitr
          and Bite Squad footprint, and we now reach a population of more than 30 million
          Americans….

          135.     Despite having recently eschewed profitability over growth, on this call Meaux

 also spoke of the ability to expand margins as the Company also engaged in hyper-inflated

 growth. As evidence of this, Meaux stated, in part, the following:


 26
    Evidence of the irrelevance of Waitr’s purported unique algorithm optimization is demonstrated by Defendants’
 ultimate decision to turn over the reins of the Company to a 34-year-old logistics company operator whose only
 experience is with delivery logistics in New York City. Not that logistics experience is not valuable, but all routing
 algorithms are optimized for their environments and Waitr had no special software advantage—as it was outsourced
 to Olo—that provided it with any real competitive advantage, as Meaux falsely claimed.

                                                          68
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 69 of 114 PageID #: 69




        What's even more exciting than the opportunity for sales is our opportunity for
        margin expansion as margins -- as markets scale.

        Gross margins will improve with scale due to large levers on take rate and
        operating cost side of our business. We believe this illustrates the tremendous
        opportunity we have for growth in 2019 and beyond. In the hyper-local markets in
        which we operate, Waitr has a clear leadership position, and our sales continue to
        grow at a rapid pace. Not only are our sales continuing to grow, but the strength
        and commitment of our customers is strong.

        At the end of Q1, we had over 2.2 million Active Diners, and we’re serving more
        than 57,000 orders per day. Moreover, the order frequency of our customers has
        been increasing every year. This provides us with an attractive undercurrent for
        growth, which is not generally affected by economic conditions, our level of
        marketing spend or our growth in surrounding markets. We see clear and proven
        opportunities to further improve the cohort behavior, both at Waitr and Bite
        Squad, to supersize the recurring growing streams of orders and revenue.

        136.   Defendant Meaux also used the opportunity of this conference call to reiterate

 Waitr’s purported forward-looking guidance, in part, as follows:

        While we are beginning to gain more visibility into the seasonality of our
        business, we foresee strong growth for the remainder of this, year particularly in
        the second half of the year and into 2020. A combination of our strong start to
        this year, progress in new markets, and most importantly, positive momentum in
        existing markets makes us increasingly confident that we will now exceed our
        initial pro forma revenue guidance of $250 million. By leveraging our continued
        growth, our W2 business model, restaurant partnerships and our consistently
        repeatable local market profitability, we are targeting long-term EBITDA margins
        of 20%. One only needs to look at the profitability of our top 10 markets to see a
        path to long-term profitability.

        In conclusion, we believe opportunities abound for Waitr's continued growth in
        2019 and beyond. In the coming months, we will provide more insight into our
        future plans around our vision for the future, as outlined in last quarter's call.

        137.    Turning the call over, Defendant Yurecko reiterated guidance and added that his

 expectation at that time was that Waitr would exceed guidance. According to Yurecko, “the

 combination of our strong start to the year, progress in new markets, and most importantly,

 positive momentum in existing markets makes us increasingly confident that we will now exceed

 our 2019 revenue guidance of $250 million.”

                                                69
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 70 of 114 PageID #: 70




        138.    Once the conference call was opened to questions, analyst Alex Fuhrman, from

 Craig-Hallum, immediately asked whether the influx of competition into once unchallenged

 markets was raising the “cost of acquiring” customers. To this, Defendant Meaux responded that

 Waitr had a much lower cost of acquiring customers from its own network, such that the

 Company was “still acquiring a large percentage of our customers there.” Defendant Yurecko

 added that, “the majority of our customers still come in via organic means rather than paid

 media, so there is a natural increase in CPA when more dollars are spent because paid media is

 going to bring in a higher share of customers versus the organic customers.”

        139.    Next, Daniel Louis Kurnos, analyst from the Benchmark Company, LLC, asked

 whether Waitr was “seeing any take rate pressure or concern about take pressure in [Waitr’s]

 small or mid-tier markets.”    Meaux’s reply focused entirely upon the benefits purportedly

 achieved by having “fixed cost per hour for [Waitr’s] drivers,” and how that created competitive

 advantages that allowed Waitr to maintain its low rates.

        140.    When asked by Kurnos what the effect of increased competition by deep-pocket

 competitors willing to lose money in small markets to gain market share (but who are profitable

 in large markets and who could afford to spend and even lose money and still fund growth

 holistically within its organization), when “somebody comes in and dumps a whole bunch of

 spend into a market.” Defendant Yureckos’ response was that “it’s not a winner take all

 marketplace,” and that such increased spending by competitors raises awareness of on-line food

 delivery and that, “as the incumbent-entrenched market leader,” the Company is the

 “beneficiary” of such direct competition.

        141.    Analyst Kurnos also asked whether losses were foreseeably likely to accelerate as

 the Company grew incrementally along the then current organic trajectory of its business. To



                                                70
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 71 of 114 PageID #: 71




 this Defendant Yurecko responded that it was foreseeable only that, “over time, it would be

 reasonable for that [i.e., losses] to come up a little bit.”

         142.    When asked by Jefferies analyst, Brent John Thill, generally about market

 conditions and whether the market would encourage restaurants “capable of supporting a handful

 of platforms.” Defendant Meaux responded by distinguishing Waitr based on its lower prices

 and better technology. As evidence of this, Meaux stated, in part, the following:

         [T]he reality is, is that when we’re entrenched in the market and a competitor
         comes in the market, it really doesn't matter how much money they spend. They
         still have to get the restaurant supply. And without the restaurant supply, you
         don't attract consumers.
                                               * * *

         And the other thing about it, too, Brent, is our platform. Our technology platform
         is purpose-built for these kinds of markets. So -- and this maybe is a part to the
         answer to the last question that Jeff was talking about as well.

         So if you take a platform that is built for stacking orders in major markets that
         allows you to deliver four or five orders in a high-rise at onetime and you try to
         put it in an area where orders might be four miles apart, it just doesn't work.[ 27]
         And so by having a purpose-built platform for the kinds of markets that we
         operate in, having the significant share of the restaurants in that market -- and
         remember, most of the restaurants in these markets are independent, not chains.
         That’s very different than in a major market where you would have thousands of
         chain restaurants. In the markets we serve, it’s kind of 15 maybe.

         And in the biggest of markets that we serve, maybe 100. So it takes the
         independence in order to make it work. And so what we have found is that
         competitors have had a hard time signing up independent restaurants. That gives
         us an advantage.

         143.    When analyst Thill asked about the Company’s ability to become profitable,

 Meaux again responded that, “when we did the Landcadia transaction, we were just a few

 hundred thousand dollars a month away from profitability. In the case of Bite Squad, they had

 already been profitable at some period. So we know how to get this business profitable…. And


 27
   Within 3 months the CEO making this statement would be replaced by a new CEO whose only relevant
 experience was running a logistics company servicing New York City for only five years.

                                                    71
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 72 of 114 PageID #: 72




 so if we stop expanding, if we -- or stop opening new markets, not so much stop expanding

 because most of our growth is coming from existing markets anyway. But if we just stopped

 opening new markets, it wouldn't take us long to find profitability.”

        144.    Analyst Howard Wells Penny of Hedgeye Risk Management LLC asked about the

 Company’s cash burn and its need to raise capital. Defendant Yurecko responded that the

 Company’s position had not changed since the prior call and that, “we built our guidance plan

 without the need to raise capital. So we hold to that and that’s our plan for the year.” Yurecko

 qualified that by stating that if an M&A opportunity existed and if there was an opportunity in

 the capital markets at the right price, Waitr would foreseeably raise money under those

 circumstances. Defendant Meaux drew attention to the fact that Waitr had already filed a shelf

 registration in early April 2019, so that shares could be sold to fuel “additional growth, other

 than our organic growth, which is so strong.”

        145.    Finally, when asked by analyst Thill what the most significant keys to unlocking

 Defendants’ long-term +20% EBITDA forecasts, Meaux responded that, “most particularly, the

 complete integration of the technology platforms for the two companies [Bite Squad and Waitr].

 Now that’s later this year or into next year, but once we achieved full integration of that

 platform, there is significant leverage that will have been achieved at that point.”

        146.    On May 10, 2019, Waitr filed its Form 10-Q with the SEC and announced its

 financial results for the first quarter of 2019, the period ended March 31, 2019. This Form 10-Q

 was signed by Defendant Yurecko and certified by Defendants Meaux and Yurecko. The first

 quarter 2019 Form 10-Q was substantially similar, and contained the same or similar

 representations as Waitr’s 2018 Form 10-K regarding: (i) the Basis of the Company’s Financial

 Reporting and Compliance with GAAP (see ¶123 supra); (ii) the suitability and viability of



                                                  72
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 73 of 114 PageID #: 73




 Waitr’s controls and procedures (see ¶124 supra); and (iii) the veracity of the Sarbanes Oxley

 certifications signed by Defendants Meaux and Yurecko (see ¶125 supra). The first quarter 2019

 Form 10-Q again reported the trademark litigation, and added disclosure regarding the FLSA

 Class Actions. The first quarter 2019 Form 10-Q did not mention the Restaurant Partners’ Class

 Action.

           147.   The statements contained in Waitr’s first quarter 2019 Form 10-Q and the other

 public statements made by Defendants and reproduced herein, in ¶146 supra, were each

 materially false and misleading when made, and/or omitted to report material facts necessary to

 make such statements true, accurate and reliable, in light of circumstances that existed at that

 time, and were known by Defendants to be false at that time, or were recklessly disregarded as

 such thereby, for the reasons stated herein, in ¶146 supra. Waitr had failed to report the

 Restaurant Partners’ Class Action filed against the Company, which made serious allegations

 against Waitr for inflating its revenues and earnings prior to going public, as well as posed a

 huge potential liability for the Company.

           148.   These statements made by Defendants during the first quarter 2019 conference

 call were also materially false and misleading and were known by Defendants to be false or were

 recklessly disregarded as such thereby, because:

                  (a)    Waitr’s business model was broken and it would be impossible for it to

 achieve projected financial results sponsored or endorsed by Defendants unless drastic and risky

 changes were made. In fact, as Defendants knew or recklessly disregarded, by May 2019, the

 problems arising from Bite Squad merger were so significant that management had already

 become distracted in attempting to integrate the incompatible Bite Squad and Waitr platforms,




                                                73
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 74 of 114 PageID #: 74




 which then significantly impacted operations and delayed a planned roll out an adjusted Master

 Services Agreement to restaurants on the Waitr platform;

                 (b)    Defendants failed to disclose that they were planning to update Waitr’s

 Master Services Agreement and that it was already necessary to impose large and drastic price

 increases in order to remain solvent, which would materially and adversely affect a large number

 of restaurants on the Waitr platform. At no time did Defendants ever disclose that these changes

 would move restaurants to a performance-based pricing program, which was unprecedented in

 the industry and which imposed material risk that the new agreement would alienate its

 restaurant partners or result in the outright rejection of the new terms; and

                 (c)    By May 2019 at the latest, Defendants knew that the integration of Bite

 Squad and Waitr were not proceeding according to plan and that the companies had completely

 diverse marketing leadership teams with different customer acquisition strategies.        Thus,

 Defendants knew that because management resources were preoccupied with problematic

 integration and organizational alignment of Bite Squad, they could not manage and were not

 managing the changes to the Master Service Agreement and effectively overseeing other areas of

 the business.

        149.     Despite having said that Waitr was well-capitalized and did not need to raise

 money, and despite not having mentioned any possible acquisitions that needed to be financed,

 on May 16, 2019, Waitr sold $50 million worth of common stock in the open markets, pursuant

 to the Secondary Offering Filings.

                           Materially False and Misleading Statements
                           Made in Waitr’s Secondary Offering Filings

        150.     In connection with the Secondary Offering of almost 7 million more shares of

 Waitr stock, Defendants (including Jefferies as an underwriter) prepared and disseminated

                                                  74
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 75 of 114 PageID #: 75




 materially false and misleading Secondary Offering Filings that contained false statements of

 material facts and that omitted to disclose material facts necessary to assure that statements

 contained therein were true, accurate and reliable at that time. In addition to making other

 representations about Waitr, the Secondary Offering Filings stated that the Company’s financial

 statements and SEC reports were filed in accordance with GAAP, as follows:

        Basis of Presentation
        The Landcadia Business Combination was accounted for as a reverse
        recapitalization, with no goodwill or other intangible assets recorded, in
        accordance with GAAP. Under this method of accounting, Landcadia Holdings,
        Inc. has been treated as the “acquired” company for financial reporting purposes.
        Accordingly, for accounting purposes, the Landcadia Business Combination was
        treated as the equivalent of Waitr Incorporated issuing stock for the net assets of
        Landcadia Holdings, Inc., accompanied by a recapitalization. ...

        The Bite Squad Merger was considered a business combination, in accordance
        with GAAP, and was accounted for using the acquisition method. Under the
        acquisition method of accounting, total merger consideration, acquired assets and
        assumed liabilities are recorded based on their estimated fair values on the
        acquisition date. The excess of the fair value of merger consideration over the fair
        value of the assets less liabilities acquired has been recorded as goodwill. The
        results of operations of Bite Squad have been included in our consolidated
        financial statements since the acquisition date, January 17, 2019.

        151.    In addition, as to the Company’s GAAP compliance, the Secondary Offering

 Filings also represented that Critical Accounting Policies and Estimates were in effect, as

 follows:

        Critical Accounting Policies and Estimates
        The preparation of financial statements in accordance with GAAP requires us to
        make estimates and assumptions that affect the reported amounts of assets and
        liabilities, the disclosure of contingent assets and liabilities at the date of the
        financial statements and the reported amounts of revenue and expenses during the
        reporting period, along with related disclosures. We regularly assess these
        estimates and record changes to estimates in the period in which they become
        known. We base our estimates on historical experience and various other
        assumptions believed to be reasonable under the circumstances.

                                              * * *



                                                 75
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 76 of 114 PageID #: 76




        Other than the changes disclosed in Note 2—Basis of Presentation and Summary
        of Significant Accounting Policies to our unaudited condensed consolidated
        financial statements included in our Quarterly Report, which is incorporated by
        reference herein, there have been no material changes to our critical accounting
        policies and estimates described in our Annual Report, which is incorporated by
        reference herein.

        152.    While Waitr reported no material change in its critical accounting policies or

 estimates, one change that did appear in the Secondary Offering Filings was Waitr’s description

 of its competitive advantage based on lower pricing. Whereas Waitr had theretofore promoted

 the Company’s basic strategy as being a “low-cost leader” in providing services to underserved

 markets with a sustained take rate of 15%, suddenly Waitr reported that its competitive

 advantage was based on “Flexibility Around Price Point,” which was explained as providing

 restaurant customers price flexibility, evidenced by “charging restaurants under two fee models:

 (1) with an initial setup and integration fee and partnership level pricing, and (2) with a higher

 fee rate and no upfront setup and integration fee.” This change in emphasis to “flexibility” rather

 than cost-savings was obscured by the fact that the two-tiered pricing alternative highlighted

 existed throughout the Class Period and marked no change in corporate strategy regarding

 pricing models.

        153.    A more serious defect of Waitr’s Secondary Offering Filings, however, was its

 inadequate and generic risk disclosures that were not designed to fully disclose, nor did they

 provide investors with an understanding of, the true risks of investing in Waitr at that time.

 These purported Risk Factors were either false and misleading or omitted to disclose material

 facts necessary to make them true and accurate in light of circumstances existing at that time.

 While there are approximately 24 pages of Risk Factors in the Secondary Offering Filings, the

 majority of these disclosures are generic in form and apply to investing in any stock anywhere on

 earth, and/or they fail to disclose the actual risks facing investors and, repeatedly, state that

                                                 76
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 77 of 114 PageID #: 77




 adverse conditions that were already impacting Waitr were merely potential contingent risks that

 could possibly impact Waitr at some unknown future time.

        154.     The list of generic purported Risk Factors contained in the Secodary Offering

 Filings is purposefully too long to reproduce, as it was designed to obfuscate rather than inform

 investors of the true risks of investing in the Company at that time. An example of such

 statements includes, in small part, possible injury resulting from the following:

        •     If the use of the Internet and websites do not continue to increase as anticipated.

        •     Changes in mobile operating systems, over which Waitr has no control.

        •     Disruption to its service by forces within and beyond the control of Waitr.

        •     Waitr could become a payment processor and could face compliance issues.

        •     Risks related to the acceptance of credit and debit card payments.

        •     Impact on Waitr if third-party vendors fail to perform.

        •     Major hurricanes, tropical storms or other instances of severe weather.

        •     Increases in costs.

        •     Employee Unionization.

        •     Compliance with the reporting requirements of the Exchange Act and the Sarbanes
              Oxley Act might strain resources, increase costs and distract management.

        •     Reliance on search engines (i.e., Google) subjects Waitr to risk of termination of
              services.

        155.     Other identified Risk Factors contained in the Secondary Offering Filings that

 were either generic in scope or predominately beyond Waitr’s control, included in part, the

 following:

        •     industry or general market conditions;

        •     domestic and international political and economic factors unrelated to our
              performance;

                                                   77
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 78 of 114 PageID #: 78




        •   action by institutional stockholders or other large stockholders, including sales of
            large blocks of common stock;

        •   speculation in the press or investment community;

        •   changes in investor perception of us and our industry;

        •   changes in market valuations or earnings of similar companies;

        •   announcements by us or our competitors of significant products, contracts,
            acquisitions or strategic partnerships; [and]

        •   changes in applicable laws, rules or regulations, regulatory actions affecting us and
            other dynamics.


        156.    The order of importance in which the risks were disclosed belies Defendants’

 attempts to minimize them. The first risk in the Risk Factor section that purports to directly

 address the Company relates to “general economic and business risks that are largely beyond our

 control,” the same generic risks related to “availability of disposable income” one would endure

 by investing almost anywhere and into almost anything.

        157.    In addition to the foregoing “disclosures,” which were intended to misdirect

 investors, other statements that purported to be Risk Factors failed to disclose that the purported

 risk identified as a possible future contingency was already materially and adversely impacting

 the Company, such that the purported disclosure itself was materially false and misleading.

 Examples of such inadequate and false and misleading Risk Factors included the following:

    •   We may not be able to accurately forecast revenues and plan operating expenses;

    •   We may be unable to scale our technological and operational infrastructure to
        accommodate rapid growth in diners, orders or customer support needs;

    •   Our management team has had limited experience operating a public company and could
        be unable to transition from a developmental stage business to a larger organization;

    •   Our growth may depend on acquisitions, and our management team does not have
        significant experience managing acquisitions of other businesses;


                                                 78
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 79 of 114 PageID #: 79




    •   The relatively quick transition to a public company could pose operational, financial and
        quality risks that we are unable to manage effectively;

    •   Our ability to attract and retain restaurants over long periods of time has not been tested
        in several markets;

    •   Increases in marketing, sales, and other operating expenses that we may incur to grow
        and expand our operations and to remain competitive are unpredictable;

    •   Our ability to maintain gross margins and operating margins can be difficult to predict
        and impacted by numerous factors beyond our control (for example, due to transaction
        charge increases, technology cost increases, and other items);
    •   Internal controls, especially in light of the accelerated process with respect to the
        Landcadia Business Combination and Bite Squad Merger, may not keep pace with
        necessary requirements from a business, accounting or legal point of view.

        158.    While there are few purported Risk Factors that are specific to Waitr, stating that

 “[t]he loss of restaurants to the Platforms could seriously harm our business” is not a disclosure

 as to possible negative outcomes in the future, but rather a verbalization of the necessary effects

 of breaking contracts with clients, unilaterally raising prices, and then preparing for massive

 price increases that foreseeably would, and immediately did, alienate the core base of the

 Company. To report as a risk that, “restaurants could leave the Platform, reducing revenues” at

 the time that Defendants had unilaterally raised prices and were making it uneconomical for

 small restaurants in remote markets to use Waitr’s service is not adequate or designed to inform

 investors as to the true risk of investing in the Company at the time that Secondary Offering

 Filings were issued.

        159.    Purported Risk Factors that said Waitr “may not continue to grow at historical

 growth rates or achieve profitability in the future” or that Defendants “inability to manage

 growth and meet demand could harm … operations and brands” were not contingencies, but

 rather facts and foregone conclusions, at that time.

        160.    Again, it is telling that the most significant and specific purported Risk Factors

 related to Waitr appear approximately about 22 pages into Secondary Offering Filings, and
                                                 79
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 80 of 114 PageID #: 80




 approximately 10 pages into the other purported Risk Factors. The Secondary Offering Filings

 states, in part, that:

         Our industry is highly competitive and fragmented, and our business and
         results of operations may suffer if we are unable to adequately address
         downward pricing and other competitive pressures.

         These factors include the following:

     •   The continuing trend toward consolidation in the online and mobile app ordering
         and delivery industry may result in larger companies with greater financial
         resources and other competitive advantages, and we may have difficulty
         competing with them;

     •   Advances in technology may require us to increase investments in order to remain
         competitive, and our restaurant diners and consumers may not be willing to accept
         higher onboarding fees, service fees, take rates or delivery charges to cover the
         cost of these investments;

     •   Higher fuel prices and, in turn, higher fuel surcharges to our drivers may cause
         some of our drivers to demand higher wages or otherwise result in additional
         expense to us for reimbursement of mileage to drivers;

     •   We may have higher exposure to litigation risks as compared to other providers of
         delivery services; and

     •   Restaurants could develop their own online or mobile app food ordering and
         delivery technology and hire their own drivers to make their own deliveries,
         which could reduce demand for our services to restaurants and limit choices for
         consumers, reducing the number and frequency of orders using our technology.

         161.     Similarly buried on the following page was a purported disclosure regarding the

 Company’s technology, purporting to warn investors that Waitr faced “substantial competition in

 technology innovation and distribution” and that if the Company was “unable to continue to

 innovate … operations could materially suffer.” Waitr acknowledged that it “must continually

 innovate” to improve existing platform technology, yet failed to disclose that larger and more

 established companies, as well as smaller companies who were also developing products,

 features, and services similar to Waitr, were achieving greater market acceptance and providing


                                                 80
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 81 of 114 PageID #: 81




 more far-reaching and successful product development efforts and marketing campaigns, and

 were adopting more aggressive pricing policies, such that Waitr was already finding it very

 difficult to continue to develop software that was necessary to stay competitive in its market.

        162.    As investors would learn in the coming months, these purported risk

 “contingencies” were, in fact, actualities already negatively impacting Waitr at the time of the

 Secondary Offering and throughout the Class Period.

        163.    Similarly, purported Risk Disclosures related to the integration of Bite Squad

 were also misleading, in failing to disclose that the purported risk contingencies related to the

 integration of a company of equal size, that was composed itself of 17 other companies, that was

 regionally diverse and not contiguous and which was itself facing serious internal problems

 resulting in slowing growth and integration issues, were in fact, negative actualities that were

 already impacting Waitr. Rather than disclose the problems that already existed with the Bite

 Squad integration, Defendants incorporated the following Risk Factors disclosure that disguised

 these problems by presenting them as mere possibilities or future contingencies, as follows:

        The following are risks related to the Bite Squad Merger:

    •   Combining the two companies may prove to be more difficult, costly and time consuming
        than expected, which could cause us not to realize some or all of the anticipated benefits
        and synergies of the Bite Squad Merger.

    •   The Bite Squad Merger will involve substantial non-recurring costs, including significant
        transaction costs, regulatory costs and integration costs, such as facilities, systems and
        employment-related costs, and we may incur unanticipated costs or unknown liabilities
        which may be significant. Although we expect the elimination of duplicative costs and
        other cost synergies from operational and functional efficiencies following the integration
        of the two companies to exceed integration costs over time, we may not be able to
        achieve this result as quickly as anticipated or at all, particularly if we are not able to
        realize some or all of the anticipated benefits and cost savings from the acquisition.

    •   The Bite Squad Merger may disrupt our or Bite Squad’s businesses, which may harm our
        respective businesses and impact our respective abilities to retain customers.


                                                 81
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 82 of 114 PageID #: 82




           164.   As investors would learn in the coming months, these purported risk

 contingencies related to the “Bite Squad Merger” were, in fact, actualities already negatively

 impacting Waitr at the time of the Secondary Offering and throughout the Class Period.

           165.   In addition to the foregoing, Waitr also omitted to disclose risks that were

 material to investing in Waitr during the Class Period. Primarily, by using the SPAC structure in

 the acquisition of Old-Waitr by Landcadia, shareholders were subjected to unique risks related

 specifically to that structure that were required to have been disclosed. Specifically, given the

 time constraint imposed on the Waitr acquisition, additional risk disclosures were required

 alerting investors to the heightened risk of being acquired by an expiring SPAC. In addition, the

 risk disclosures in the Secondary Offering Filings were materially misleading as a result of

 omitting to warn of the significant additional risks that a fully employed driver staff imposed

 upon Waitr, including that it required very complex forecasting software to be able to determine

 before-hand what the market demands will ultimately be. At all times, the W2 model required

 Waitr to forecast demand, whereas competitors’ 1099 models allow them to simply react to

 market demand by adding or subtracting labor supply at any time (by adjusting the bid on labor

 rates).

           166.   The claims related to the false statements made in the Secondary Offering Filings

 are based in negligence and they do not sound in fraud. Defendants were required to assure that

 statements contained in the Secondary Offering Filings, or incorporated therein by reference or

 which were filed as amendments or exhibits thereto, were true, accurate and reliable and did not

 contain any untrue statement of a material fact or omit to include material facts necessary to

 make the statements contained therein not materially false, at that time.




                                                 82
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 83 of 114 PageID #: 83




        167.    As investors ultimately learned following the end of the Class Period, the

 statements contained in or incorporated in the Secondary Offering Filings, referenced above in

 ¶150 - ¶163 supra, were each materially false and misleading at that time, for the following

 reasons, among others:

                (a)    At the time of the Secondary Offering, it was not true that the Company

 could obtain profitability and could easily switch from growth to profits, when Defendants had

 artificially bolstered profits and revenues by unilaterally raising prices in breach of customer

 contracts and by failing to properly reimburse drivers for mileage expenses;

                (b)    At the time of the Secondary Offering, it was not true that the Company

 was providing its services at a sustainable low take rate established at 15%. First, Waitr had

 breached certain customer contracts to force some customers (who had initially contracted to the

 10% rate) to adopt at the 15% rate which appears 1.5x higher than then contracted rate. Second,

 even at 15% the Company could not possibly operate profitably providing services to small,

 independent restaurants in remote markets (with no available subsidy provided by large

 profitable large urban markets), and it was necessary to immediately raise take rates as soon as

 Waitr created a public market for Waitr shares and as soon as it could take advantage of that

 market by selling or issuing stock as currency for acquisitions or to raise cash directly from

 investors in its Secondary Offering;

                (c)    At the time of the Secondary Offering, it was not true that Waitr was able

 to extract efficiencies from its full time fixed-rate labor force that was purporting to allow the

 Company to offer its services at a lower rate than competitors, when in fact its W2 labor model

 was inefficient, it resulted in huge costs that could not be sustained (especially, if the Company




                                                83
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 84 of 114 PageID #: 84




 paid all associated labor costs as required by state and federal law), and it resulted in Waitr

 reporting the lowest gross margins among its peers—another material competitive disadvantage;

                 (d)     At the time of the Secondary Offering, it was not true that its financial

 statements and SEC reports (including its Sarbanes Oxley certifications) were true, accurate or

 reliable, as Waitr had failed to disclose that it had artificially inflated profits and revenues, that it

 was unable to sustain itself even with rates twice its current take rates, that it had failed to

 disclose known adverse trends that were already impacting the Company as required by Item 303

 of Regulation S-K [17 C.F.R. § 230.303(a)(3)(ii)], and that the Company lacked adequate

 systems of controls and procedures to assure the truth and accuracy of its reported financial

 statements and public disclosures;

                 (e)     At the time of the Secondary Offering, the purported Risk Factors were

 not true, accurate or reliable and were not intended to disclose, nor did they alert investors to the

 true risks that were already impacting the Company at that time, and Defendants knew such

 purported disclosures were materially false and misleading when made and omitted to disclose

 material facts necessary to make such statements not false and misleading, or were recklessly

 disregarded as such thereby for the specific reasons stated in ¶152 - ¶166 supra;

                 (f)     At the time of the Secondary Offering, Waitr’s “proprietary technology”

 provided little or no competitive advantages and what first-mover advantage the Company

 claimed existed was quickly squandered by its inability to obtain sophisticated high-level

 programmers and software engineers who could enable Waitr to refine and develop the software

 necessary to stay competitive in its market. In fact, at that time, it was only months before Waitr

 would completely abandon its integrated point of sales software development in favor of

 purchasing a better solution from a competitor; and



                                                    84
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 85 of 114 PageID #: 85




                (g)     As a result of the aforementioned adverse conditions that Defendants

 failed to disclose, at the time of the Secondary Offering, Defendants lacked any reasonable basis

 to claim that the Company was operating according to plan, or that Waitr could achieve guidance

 sponsored and/or endorsed by Defendants. Nor was it true that Waitr maintained an adequate

 system of internal controls so as to report and eliminate material conflicts of interest.

        168.    Due to the aforementioned false and misleading statements Waitr’s stock price

 was artificially inflated. Indeed, at the beginning of April 2019, shares of Waitr consistently

 traded above $12.00, however, by early June 2019, Company shares traded as low as

 approximately $5.50 each. Thus, in an effort to re-inflate the trading price of Waitr shares,

 Defendants Meaux and Yurecko immediately embarked on a multi-city investor conference tour,

 appearing at no less than 4 conferences between May 29 and June 18, 2019, during which they

 reiterated many of the same or substantially similar materially false and misleading statements as

 have been reproduced herein. These conferences included the following: on May 29, 2019,

 Meaux attended the Cowen Technology, Media and Telecom Conference in New York, N.Y.; on

 May 29, 2019, Yurecko attended the 16th Annual Craig Hallum Institutional Investor Conference

 in Minneapolis, Minn.; on 6, 2019, the Company attended the 39th Annual Piper Jaffray

 Consumer Marketplace Conference in New York, N.Y.; and on June 18, 2019, the Company

 presented at the Jefferies 2019 Consumer Conference in Nantucket, Mass..

        169.    On May 16, 2019, Waitr filed a Form 8-K with the SEC, which included a press

 release announcing the pricing of its follow-on public offering of 6,757,000 shares of its

 common stock at a price to the public of $7.40 per share (the “Offering”) resulting in gross

 proceeds of $50.0 million. According to this release, Waitr had also granted Jefferies a 30-day




                                                  85
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 86 of 114 PageID #: 86




 option to purchase up to an additional 1.01 million shares of Waitr common stock. Jefferies

 served as an underwriter and co-book running manager.

        170.    On May 21, 2019, shares of Waitr rallied over 2% in active daily trading after it

 was reported that Defendant Meaux had purchased $1 million of Waitr stock at $7.40 per share

 in the Secondary Offering. It was also reported that director Steven Scheinthal had purchased

 10,000 shares the same day, at a price of $6.80 per share. In Form 4(s) filed May 21, 2019,

 Meaux reported buying 135,135 Waitr stock at $7.40, as part of a follow-on the Offering. While

 the offering was priced at $7.40, Waitr stock price closed the day at $6.85, and it appears that

 director Scheinthal bought 10,000 shares at $6.80 on price weakness.

        171.    The fact the market believed that Defendant Meaux had purchased Waitr shares as

 an expression of confidence in the Company is extremely troubling, given that it is obvious that

 Meaux stepped in and purchased $1 million Secondary Offering shares at the $7.40 offering

 price because there was no demand for Waitr shares at that time and Defendants were frantically

 trying to unload the Secondary Offering shares without alerting the market. It was a material

 non-disclosure for Defendant Meaux to provide price support to the Secondary Offering and to

 fail to disclose that his purchases were necessary to prevent this offering from failing and being

 undersubscribed.

        172.    One can reasonably infer Defendant Meaux’s actions from several known facts.

 First, Jefferies did not exercise the oversubscription option. The 1.01 million shares that would

 have been placed into the market if Jefferies has exercised the oversubscription are not reflected

 in Waitr’s Form 10-Q for the period ended June 30, 2019. This indicates a significant lack of

 demand for Waitr shares at $7.40. Second, there is no mention of Meaux’s intention to purchase

 the $1 million of Waitr shares in the Company’s Form 454(b)(5) Supplemental Prospectus, filed



                                                86
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 87 of 114 PageID #: 87




 with the SEC on May 17, 2019, the day after the Secondary Offering was priced, nor once selling

 had begun. Third, there is no mention of any insider buyers in the Supplemental Prospectus,

 filed on May 17, 2019, the day after the Offering was priced and once selling had begun. And

 fourth, shares of Waitr closed trading at $6.85 the day of the Secondary Offering—well below

 the $7.40 Secondary Offering price.

        173.    The fact that the Secondary Offering was floundering to the point where

 Defendants were scrambling to find buyers, and knowing that Meaux would probably have to

 become one of them, also made statements within the Secondary Offering Filings materially

 false and misleading, including statements that continued to forecast the foreseeable gross

 consideration that Waitr could foreseeably expect from Jefferies exercise of its oversubscription

 option, when it had already become foreseeable that there was little or no possibility that would

 occur. Accordingly, at the time Defendants filed the Form 424(b)(5), on May 17—a day after

 the Secondary Offering had begun—it was materially false and misleading to report that Waitr

 would receive $53.8 million “[i]f the underwriters exercise in full their option to purchase

 additional shares.”

        174.    In the moments before investors would learn the truth about Waitr and while still

 basking in the glow of his purported first success and after an almost lifetime of failure, on May

 24, 2017, it was announced that Defendant Meaux had been named a finalist for Gulf Coast

 Entrepreneur of the Year. While Defendant Meaux was later named Regional Entrepreneurs of

 the Year for the Gulf South, on June 25, 2019, he would not make it to the inauguration dinner

 before he was terminated as CEO of Waitr.

        175.    On June 12, 2019, the Company filed a Form 8-K with the SEC that purported to

 announce that Adam Price had been elevated to the position of Chief Operating Officer (“COO”)



                                                87
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 88 of 114 PageID #: 88




 of the Company. Price had only recently joined Waitr in February 2019, as Chief Logistics

 Officer. Upon his appointment, Joseph Stough, who had been appointed President and COO in

 November 2018, would remain President only, with no reduction in compensation. Notably, the

 press release by the Company and published the same day made no mention of the fact that Price

 was only 34 years old and had very limited experience, the most relevant of which was a five

 year stint as CEO of a Metro New York based logistics company he founded. 28

                      The True Adverse Facts About Waitr and Conditions
                  Adversely Impacting the Company Belatedly Become Disclosed

         176.     On July 5, 2019, Waitr announced a massive price increase that was considerably

 disadvantageous to small restaurant operators in remote “underserved” markets. 29 That day,

 Waitr announced that commissions were being raised from 15% to 25% for its smaller

 customers—but would remain at 15% for individual locations that generated over $20,000 per

 month of delivery—an astronomically large sum for any restaurant in a low-tier market, much

 less a small restaurant in such a market. Waitr’s bracketed approach imposed the following

 dramatic rate increases:

                                  Bracket                            Rate*

                           $1,000.01 - $2,000                       24.5%
                           $2,000.01 - $3,000                       24.0%
                           $3,000.01 - $4,000                       23.5%
                           $5,000.01 - $7,500                       23.0%
                           $7,500.01 - $10,000                      22.0%
                           $10,000.01 - $12,500                     21.0%
                           $12,500.01 - $15,000                     20.0%
                           $15,000.01 - $20,000                     19.0%
                           Above $ 20,000.01                        15.0%


 28
   In total, it appears that Mr. Price’s resume consists of approximately 6 years work at an engineering company, 5
 years as CEO of Homer Logistics in Metro N.Y., and 3 months as Chief Logistics Officer (“CLO”) at Waitr.
 29
    See https://www.wafb.com/2019/07/08/waitr-increases-rates-participating-businesses/ (last visited Sept. 26,
 2019).

                                                        88
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 89 of 114 PageID #: 89




                       * plus an additional 3% for Credit Card Processing Fees

         177.     This massive price increase, which Defendants knew was necessary since the

 inception of the Class Period, was evidence that Waitr could not supply delivery services at

 prices that small restaurants in secondary markets could reasonably afford. The price increase

 also demonstrated that Waitr was not achieving any competitive advantage as a result of utilizing

 full time driver labor that would allow it to maintain price stability at 15%. In fact, these price

 increases were designed to drive away Waitr’s core clients who were not profitable for Waitr and

 who could not afford non-subsidized services, and to avoid refunding any of the onboarding and

 set up fees that Waitr had charged.

         178.     Having purported to have built Waitr into a thriving success based on a business

 model predicated upon providing low priced delivery services to small, sole proprietor

 “restaurant partners” in underserved remote markets, there was an immediate and almost hostile

 reaction by restaurant operations, especially Waitr’s early adopters located in and around its

 headquarters and home-town. On July 7, 2019 just days after announcing the price increases it

 was reported in the local press that at least 20 restaurant owners planned to protest Waitr’s new

 “performance based rate structure” by boycotting the delivery platform. 30 These boycotters

 broadcasted their intentions with hopes that other restaurant owners and Waitr customers would

 join in and support their protest over these draconian price increases. 31




 30
    See https://www.theadvocate.com/acadiana/news/business/article_c26bf0b2-a197-11e9-93b3-cf9a8504c97c.html
 (last visited Sept. 26, 2019).
 31
   It was Zee Baloch, who was reported to own Hot Food Express, was “leading the effort” to get Waitr to “be fair”
 to its restaurant partners. This was remarkable, because of Waitr’s tens of thousands of restaurant partners, it was
 Hot Foods Express that Meaux singled out in the first quarter of 2019 conference call as the shining example of a
 Waitr success, having generated such strong additional sales by adding Waitr that it was able open a second
 location.           See      https://www.theadvocate.com/acadiana/news/business/article_0802a05c-a7fc-11e9-8bce-
 f7ca252cde1c.html (last visited Sept. 26, 2019).

                                                         89
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 90 of 114 PageID #: 90




            179.     Reacting to the July 1, 2019 email they received as unilateral notice of the drastic

 price increases and that demanded signed consent or termination within 30 days, by July 8, 2019,

 it was reported that restaurant owners in Baton Rouge, Louisiana were threatening to leave

 Waitr. 32 Chris Ko, owner of Drunken Fish in Baton Rouge, was quoted in the local press as

 stating that there was no way he could make enough sales to cover the new pricing costs and not

 lose money. 33 Another Baton Rouge restaurant owner, also quoted, summed up the situation—

 noting Waitr’s inability to make money in the markets it was now seeking to abandon—as

 follows:

            Ray Vanmerrienboer, who heads Red Zeppelin Pizza, says he’s not sure if he’ll
            stick with the company or not. He says … he understands how the smaller mom
            and pop shops can’t survive this way and says that because Waitr is now public,
            they’re trying to force those people out

            “Because they’ve gone public, they’re all about profit,” Vanmerrienboer said.
            “They’re all about margins and they’ve got to cut off people who are costing them
            money in the long run. Small businesses are starting to cost them money ‘cause
            they’ve got to make their quotas every quarter and they’ve got to start trimming
            the fat, and in doing so, they’re going to pressure those people to get out and then
            they’re gonna’ flip it to people who are in.”

            180.     The one day boycott in Lafayette soon became a week-long boycott in Baton

 Rouge, as restaurant owners voiced their displeasure and challenged Waitr to re-adjust its terms.

 In an extraordinary demonstration of the seriousness of Waitr’s price increase impact on the




 32
    Despite engaging in systematic unilateral price increases (whether in violation of their agreements or in technical
 compliance therewith), National Sales Director for Waitr, Tyson Queen, stated, “[t]he last thing we want to do is just
 serve      notice        and    tell      people       to      just     deal       with       it.”                See
 https://www.theadvocate.com/acadiana/news/business/article_c26bf0b2-a197-11e9-93b3-cf9a8504c97c.html (last
 visited Sept. 26, 2019).
 33
      See https://www.wafb.com/2019/07/09/baton-rouge-restaurants-threaten-leave-waitr/ (last visited Sept. 26, 2019)

                                                           90
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 91 of 114 PageID #: 91




 viability of these small restaurant owners in remote locations, Baton Rouge Turns Off Waitr

 Week was scheduled from July 14 to 21, 2019. 34

         181.     While Meaux defended the price increases by stating that, “if we’re bringing the

 Company $5,000 in sales, and they’re paying us $1,150, it’s still sales they wouldn’t have … .”

 Defendant Meaux was clearly conflating gross sales and net revenues. For a normal restaurant

 that might have a 10% or 15% margin on food, that $5,000 in sales represented a profit of at

 most $750 to the restaurant. With Waitr’s $1,150 delivery fee, the benefit of the added sales

 results in a loss to the restaurant partner of $400.

         182.     Meaux’s other rationale for the price increases was that it simply forces restaurant

 partners to consolidate their sales on one single platform, and allows Waitr to give volume

 discounts. That, however, completely ignored the fact that restaurants have no control over how

 customers will order, including the traditional over the phone method, and unless restaurants

 simply refuse to adopt all other delivery services in favor of Waitr, which would have the effect

 of substantially limiting their overall reach to customers who are on other apps, restaurants

 cannot possibly force customers to use the Waitr app. Waitr was simply attempting to shift the

 burden for keeping and retaining customers onto the restaurants, instead of simply competing in

 the market and maintaining its purported first mover advantage by rolling out better services and

 technologies and creating more efficiencies with better forecasting and lowering prices.

         183.     In the days and weeks that followed, news reports regarding small restaurant

 partners’ expressions of betrayal and discontent appeared widely in the press. Restaurant owner

 after restaurant owner recounted how the economics of their business do not allow for them to

 pay 25% delivery fees when operating on a margin under 15%. The message was repeatedly


 34
   Zee Baloch of Hot Foods Express was quoted in the press as saying that she wanted to “salute” the Baton Rouge
 Boycotters.        See https://www.theadvocate.com/acadiana/news/business/article_0802a05c-a7fc-11e9-8bce-

                                                       91
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 92 of 114 PageID #: 92




 clear, “We can’t give our food away. We can’t give away that big a percentage … . [These] are

 conditions under which we cannot operate.” 35 (Bradley Deroche, owner of several Moe’s

 Southwest Grill locations.)

          184.     Other business owners reacted negatively to the disrespect of being emailed 30-

 day notice of such material contract changes. Joe Boudreaux, co-owner of Zack’s Famous

 Frozen Yogurt in Houma, an original Waitr business partner in that town, stated, “[g]etting 30

 days’ notice to change up the entire contract is not sitting well with us. What we signed up for

 was not to have all the terms and conditions changed.” Id. Mr. Boudreaux was probably

 referring to the fact Zack’s previously paid $1,500 in upfront fees to obtain a lower take rate, and

 would not be paid a refund if service was discontinued, regardless of when such payment was

 made. Id. One cannot help notice the simple wisdom in abandoning Waitr once concluding, as

 Boudreaux did, “Their values don’t align with ours. … We are done with them. … [E]ven if they

 change the contract, it’s tainted.” 36

          185.     In fact, the rates were even higher than many realize. As Nikki Robichaux, owner

 of Fig Café in Houma, calculated, “When you add it up, its over 38% that I’m going to have to

 give them, and our profit margin isn’t even that. We’d be losing money.” According to

 Robichaux, she would be forced to pay Waitr a 25% base fee, plus a 3.1% credit card processing

 fee, in addition to a 30-cent-per-transaction fee. Id.

          186.     On July 22, 2019, Waitr filed a memorandum in support of its motion to dismiss

 the complaint filed in the Restaurant Partners’ Class Action complaint, which did nothing to


 f7ca252cde1c.html (last visited Sept. 26, 2019).
 35
    See https://www.houmatoday.com/news/20190718/waitr-boycott-affects-food-delivery-customers (last visited
 Sept. 26, 2019).
 36
     See https://www.houmatoday.com/news/20190726/some-restaurants-giving-up-on-waitr-delivery-service (last
 visited Sept. 26, 2019).

                                                     92
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 93 of 114 PageID #: 93




 deny the fact that Waitr had unilaterally increased take rates in violation of certain customers’

 contracts. Waitr’s position was that it had met the terms of its agreement (which required written

 modification and consent of the parties), because it had sent a form letter to thousands of its

 affected restaurants that had a signature (most likely a photocopy of a signature on a form letter,

 given the number of recipients). Where the recipient of the letter did not terminate service, Waitr

 argued, it by inaction had consented to the price increase and waived any objection by continuing

 to use Waitr’s services. According to Waitr’s attorneys, “[the Restaurant Partners’ Class Action

 plaintiff] had no right to remain at the lower fee level and [its] remedy for a fee increase it did

 not accept was to terminate its Waitr contract.”

        187.    At a minimum, Waitr does appear to acknowledge the existence of the contract,

 except it fails to recognize any damage for the breaches thereof. Regardless of how Waitr

 explains the unilateral price increase that was never consented to by the affected restaurant

 partners, one thing is clear, and that is that Old-Waitr had benefit revenues and earnings prior to

 the Going Public Transaction with Landcadia, so that just prior to creating the public market for

 shares of Waitr, the Company looked marginally more healthy financially than it was in reality.

 Thus, while Waitr had consistently stated that it had a 15% take rate, in fact, that rate was

 substantially lower than 15% for many of its restaurant customers. To this day, no disclosure

 has been made by Waitr as to the existence of the Restaurant Partners’ Class Action.

        188.    On August 6, 2019, Waitr issued another press release that signaled a complete

 capitulation of its grand ambition to be the complete front-of-house software solution for

 restaurants with complete point of sale integration. That day, Waitr announced that it had made

 a deal with Olo, to integrate Olo’s platform software into its restaurant partners, allowing Waitr

 customers to “now have their requests go directly into a restaurant’s point-of-sale (POS)



                                                    93
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 94 of 114 PageID #: 94




 system.” Remarkably, Waitr presented it as a benefit that Olo allows users to “manage many

 different platforms and ordering systems.”       Clearly, the adaptation of Olo signaled the

 abandonment of Waitr’s proprietary platform technology, a final admission that the Company

 was not maintaining any first mover advantage based on its ability to refine and enhance its

 technology, and that it could not obtain the resources necessary to update, improve and innovate

 its software without moving operations to areas rich with high-level programming and

 engineering support.

        189.    The final shoe dropped on August 8, 2019, after it was reported the prior day,

 after the market closed, that Defendant Meaux would resign as CEO, that the integration of Bite

 Squad was not proceeding according to plan, that Waitr would layoff personnel, and that losses

 were running far ahead of plan and at a rate that eclipsed historical growth trends. On August 8,

 2019, shares of the Company fell 50% to a close of $1.89 per share, from $3.76 the prior day.

 Waitr’s market capitalization was $134 million, down from $910 million on March 13, 2019.

 Net losses for the quarter reached a staggering $25 million, up from $7.4 million the prior year.

 During the second quarter of 2019 Earnings Call, Waitr also revealed that it had laid off 100

 people in June 2019. 37

        190.    According to the Company, it had already hired Jefferies as a financial advisor to

 “explore strategic alternatives that have the potential to increase shareholder value.” Those

 options purported to include “taking the company private or a sale of the business.” Adam Price,

 who had joined Waitr in February 2019 as a department head and became COO in June 2019

 was then named CEO. Once again, investors were forced to endure another change in direction

 as Waitr zig-zagged from one direction to another (the chronic symptom of being born without




                                                94
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 95 of 114 PageID #: 95




 any formal business plan), as they were alerted by Price that “[s]lowing the pace of our

 expansion will really help us deploy our resources in existing markets.” Surprisingly, given

 Meaux’s prior public statements regarding Waitr’s commitment to growth at the expense of

 profitability, suddenly Price had available a developed “Path to Profitability,” purported to have

 been prepared earlier in the year that would improve “annual operating cash flows in excess of

 $10 million.”

         191.    At that time, investors also first learned of the material problems integrating Bite

 Squad on time and according to plan. According to Form 8-K filed with the SEC on August 8,

 2019, Waitr announced it took longer to integrate Bite Squad, and that Waitr dropped its total

 annual revenue range for 2019 to as low as $210 million, down from +$250 million projected in

 May. It also appears that Bite Squat had bit-the-dust—the service falling from being available in

 150 cities in December 2018 to 60 cities in August. Id. At that time, it became apparent that

 there was little or no overlap in the footprint between Bite Squad and Waitr that would have

 resulted in material synergies. Moreover, on August 8, 2019, Defendant Price stated on the

 second quarter of 2019 Earnings Call that Waitr was able to fully migrate only 5 cities that

 included both Bite Squad and Waitr into a single platform and brand. Price also disclosed

 that Waitr had abandoned the important markets of Las Vegas, Nevada and Austin, Texas

 (saturated with diners with high disposable incomes).

         192.    Providing more color on the failure of the Bite Squad acquisition, Price explained

 during the same call that the difficulties were “bringing together two completely different

 marketing leadership teams at that time from the Bite Squad system and the Waitr system. And

 both of those teams came together with different strategies of how to acquire customers and get


 37
    Headcount fell from 22,000 employees, including drivers, in March 2019 to 16,000 in August 2019. See also
 https://www.theadvocate.com/baton_rouge/news/business/article_9de0fc4c-bac9-11e9-8b12-ef7ca1c24e50.html

                                                     95
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 96 of 114 PageID #: 96




 installs and get orders. And we ended up rolling out strategies while trying to integrate those

 teams without really monitoring the correct metrics for the efficacy of those strategies.”

          193.      According to Price, Waitr’s results for second quarter of 2019 suffered as a result

 of management becoming “distracted in the heavy complex integration effort of the Bite Squad

 Waitr platforms. … [I]t took our team’s eyes off key growth metrics and delayed certain revenue

 initiatives. Regarding growth, we did not catch real-time performance shortfalls in our new

 marketing strategy. This coincided with a noticeable uptick in customer acquisition spend from

 competitors in many of our markets.” In other words, observing the massive, severe destruction

 of Waitr’s goodwill caused by Defendants’ “new marketing strategy,” competitors immediately

 took advantage of the opportunities cause by the reckless manner in which Waitr was operated

 and managed. In his concluding remarks, Price again stated that it was the delays in the

 integration of Bite Squad that impacted revenues and resulted in lower guidance.

          194.      Despite having previously distinguished Waitr’s platform technology as being

 suited only for remote location delivery and explaining how urban systems are incompatible with

 Waitr’s technology and provide no competitive advantage, the new CEO, came from a

 background related to urban logistics and, during the August 8 Earnings Call, even stated that,

 “my experience [is] running millions of deliveries in places like New York City and other areas

 … .” In fact, Price immediately qualified his experience by stating, “[w]ith small- and medium-

 sized markets, the drive times are often short because of limited traffic congestion compared to

 larger markets, and the hand-off time to customers in one- or two-story buildings is much faster

 than people in a 50-story office building. With planned changes to our current method for driver




 (last visited Sept. 26, 2019).

                                                    96
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 97 of 114 PageID #: 97




 routing on both platforms, we feel confident we can increase the current driver efficiency

 significantly over time.”

         195.    On the August 8 Earnings Call, investors learned that the draconian price

 increases negatively impacted approximately 35% of Waitr’s restaurant base. While 35% is 7x

 the 5% threshold for materiality under GAAP, Defendant Yurecko described this group as “a

 relatively small percent.” Price, however, said that Waitr does “anticipate a loss of restaurants”

 as a result of the price increases.

         196.    While Defendants would not disclose to investors the full impact of those losses

 at that time, it was telling the Waitr slashed guidance by 20% at the same time it increased prices

 by 100% and, presumably improved gross margins dramatically. A rational explanation is that

 the loss of customers was already dramatic and increasing as many of Waitr’s historic restaurant

 owner customers realized they could not pay the take rates demanded by Waitr and not lose

 money on each transaction.

                   VIOLATIONS OF GAAP AND SEC REPORTING RULES

         197.    During the Class Period, Defendants materially misled the investing public,

 thereby inflating the price of the Company’s securities, by publicly issuing false and misleading

 statements and omitting to disclose material facts necessary to make Defendants’ statements, as

 set forth herein, not false and misleading. Said statements and omissions were materially false

 and misleading in that they failed to disclose material adverse information and misrepresented

 the truth about the Company, its financial performance, accounting, reporting, and financial

 condition in violation of the federal securities laws and GAAP.

         198.    GAAP consists of those principles recognized by the accounting profession as the

 conventions, rules, and procedures necessary to define accepted accounting practice at the



                                                 97
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 98 of 114 PageID #: 98




 particular time. Regulation S-X, to which the Company is subject as a registrant under the

 Exchange Act, 17 C.F.R. 210.4-01(a)(1), provides that financial statements filed with the SEC

 that are not prepared in compliance with GAAP are presumed to be misleading and inaccurate.

 SEC Rule 13a-13 requires issuers to file quarterly reports.

        199.    SEC Rule 12b-20 requires that periodic reports contain such further information

 as is necessary to make the required statements, in light of the circumstances under which they

 are made, not misleading.

        200.    In addition, Item 303 of Regulation S-K requires that, for interim periods, the

 Management Division and Analysis Section (“MD&A”) must include, among other things, a

 discussion of any material changes in the registrant’s results of operations with respect to the

 most recent fiscal year-to-date period for which an income statement is provided. Instructions to

 Item 303 require that this discussion identify any significant elements of registrant's income or

 loss from continuing operations that are not necessarily representative of the registrant's ongoing

 business. Item 303(a)(2)(ii) to Regulation S-K requires the following discussion in the MD&A of

 a company's publicly filed reports with the SEC:

        Describe any known trends or uncertainties that have had or that the registrant
        reasonably expects will have a material favorable or unfavorable impact on net
        sales or revenues or income from continuing operations. If the registrant knows of
        events that will cause a material change in the relationship between costs and
        revenues (such as known future increases in costs of labor or materials or price
        increases or inventory adjustments), the change in relationship shall be disclosed.

 Paragraph 3 of the Instructions to Item 303 states in relevant part:

        The discussion and analysis shall focus specifically on material events and
        uncertainties known to management that would cause reported financial
        information not to be necessarily indicative of future operating results or of future
        financial condition. This would include descriptions and amounts of (A) matters
        that would have an impact on future operations and have not had an impact in the
        past. ...



                                                  98
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 99 of 114 PageID #: 99




         201.    The GAAP requirement for recognition of an adequate provision for foreseeable

 costs and an associated allowance applies to interim financial statements as required by

 Accounting Principles Board Opinion No. 28. Paragraph 17 of this authoritative pronouncement

 states that:

         The amounts of certain costs and expenses are frequently subjected to year-end
         adjustments even though they can be reasonably approximated at interim dates.
         To the extent possible such adjustments should be estimated and the estimated
         costs and expenses assigned to interim periods so that the interim periods bear a
         reasonable portion of the anticipated annual amount.

         202.    The Company’s financial statements contained in the quarterly reports filed with

 the SEC on Forms 10-Q for the quarterly periods throughout the Class Period were presented in a

 manner that violated the principle of fair financial reporting and the following GAAP measures,

 among others:

                 (a)    The principle that financial reporting should provide information that is

 useful to present and potential investors and creditors and other users in making rational

 investment, credit and similar decisions (Financial Accounting Standards Board (“FASB”)

 Statement of Concepts No. 1).

                 (b)    The principle that financial reporting should provide information about an

 enterprise's financial performance during a period (FASB Statement of Concepts No. 1).

                 (c)    The principle that financial reporting should be reliable in that it

 represents what it purports to represent (FASB Statement of Concepts No. 2).

                 (d)    The principle of completeness, which means that nothing material is left

 out of the information that may be necessary to ensure that it validly represents underlying

 events and conditions (FASB Statement of Concepts No. 2).




                                                99
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 100 of 114 PageID #: 100




                 (e)     The principle that conservatism be used as a prudent reaction to

  uncertainty to try to ensure that uncertainties and risks inherent in business situations are

  adequately considered (FASB Statement of Concepts No. 2).

                 (f)     The principle that contingencies and other uncertainties that affect the

  fairness of presentation of financial data at an interim date shall be disclosed in interim reports in

  the same manner required for annual reports (Accounting Principles Board (“APB”) Opinion No.

  28).

                 (g)     The principle that disclosures of contingencies shall be repeated in interim

  and annual reports until the contingencies and have been removed, resolved, or have become

  immaterial (APB Opinion No. 28).

                 (h)     The principle that management should provide commentary relating to the

  effects of significant events upon the interim financial results (APB Opinion No. 28).

         203.    In addition, during the Class Period, Defendants violated SEC disclosure rules:

                 (a)     Defendants failed to disclose the existence of known trends, events, or

  uncertainties that they reasonably expected would have a material, unfavorable impact on net

  revenues or income or that were reasonably likely to result in the Company's liquidity decreasing

  in a material way, in violation of Item 303 of Regulation S-K under the federal securities laws

  (17 C.F.R. 229.303), and that failure to disclose the information rendered the statements that

  were made during the Class Period materially false and misleading; and

                 (b)     by failing to file financial statements with the SEC that conformed to the

  requirements of GAAP, such financial statements were presumptively misleading and inaccurate

  pursuant to Regulation S-X, 17 C.F.R. § 210.4-01(a)(1).




                                                   100
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 101 of 114 PageID #: 101




         204.    Defendants were required to disclose, in the Company's financial statements, the

  existence of the material facts described herein and to appropriately recognize and report assets,

  revenues, and expenses in conformity with GAAP.              The Company failed to make such

  disclosures and to account for and to report its financial statements in conformity with GAAP.

  Defendants knew, or were reckless in not knowing, the facts that indicated that all of the

  Company’s interim financial statements, press releases, public statements, and filings with the

  SEC, which were disseminated to the investing public during the Class Period, were materially

  false and misleading for the reasons set forth herein. Had the true financial position and results

  of operations of the Company been disclosed during the Class Period, the Company’s common

  stock would have traded at prices well below that which it did.

                             Applicability of Presumption of Reliance:
                                Fraud-On-The-Market Doctrine

         205.    At all relevant times, the market for Waitr’s common stock was an efficient

  market for the following reasons, among others:

                 (a)     Waitr’s stock met the requirements for listing, and was listed and actively

  traded on the Nasdaq national market exchange, a highly efficient and automated market;

                 (b)     As a regulated issuer, Waitr filed periodic public reports with the SEC and

  the Nasdaq;

                 (c)     Waitr regularly communicated with public investors via established

  market communication mechanisms, including through regular disseminations of press releases

  on the national circuits of major newswire services and through other wide-ranging public

  disclosures, such as communications with the financial press and other similar reporting services; and

                 (d)     Waitr was followed by several securities analysts employed by major

  brokerage firm(s) who wrote reports which were distributed to the sales force and certain


                                                   101
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 102 of 114 PageID #: 102




  customers of their respective brokerage firm(s). Each of these reports was publicly available and

  entered the public marketplace.

         206.    As a result of the foregoing, the market for Waitr securities promptly digested

  current information regarding Waitr from all publicly available sources and reflected such

  information in Waitr stock price. Under these circumstances, all purchasers of Waitr common

  stock during the Class Period suffered similar injury through their purchase of Waitr common

  stock at artificially inflated prices and a presumption of reliance applies.

                                         NO SAFE HARBOR

         207.    The statutory safe harbor provided for forward-looking statements under certain

  circumstances does not apply to any of the allegedly false statements pleaded in this complaint.

  Many of the specific statements pleaded herein were not identified as “forward-looking

  statements” when made. To the extent there were any forward-looking statements, there were no

  meaningful cautionary statements identifying important factors that could cause actual results to

  differ materially from those in the purportedly forward-looking statements. Alternatively, to the

  extent that the statutory safe harbor does apply to any forward-looking statements pleaded

  herein, Defendants are liable for those false forward-looking statements because at the time each

  of those forward-looking statements was made, the particular speaker knew that the particular

  forward-looking statement was false, and/or the forward-looking statement was authorized or

  approved by an executive officer of Waitr who knew those statements were false when made.

                                               COUNT I

                     (Against Waitr, Jefferies, Meaux, Fertitta, and Yurecko)
                           Violation of Section 11 of the Securities Act

         208.    Plaintiff incorporates by reference each and every allegation contained above, as

  if set forth herein only to the extent, however, that such allegations do not allege fraud, scienter

                                                   102
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 103 of 114 PageID #: 103




  or the intent of the Defendants to defraud plaintiff or members of the Class. This count is

  predicated upon Defendants’ strict liability for making false and materially misleading

  statements in the Registration Statement and Proxy-Prospectus.        This Count is asserted by

  plaintiff against all Defendants by and on behalf of persons who acquired shares of the Company

  pursuant to the false Secondary Offering Filings issued in connection with the May 16, 2019,

  6.757 million shares Secondary Offering.

         209.    Waitr is the issuer of the stock issued via the false Registration Statement and

  Proxy-Prospectus. As such, Waitr is strictly liable for each false and misleading statement

  contained therein.

         210.    Defendants Waitr, Jefferies, Meaux, Fertitta, and Yurecko are each signatories of

  the Registration Statement and/or prepared the Proxy-Prospectus or were an Underwriter of the

  May 2019 Secondary Offering, therefore, each of these Defendants had a duty to make a

  reasonable investigation of the statements contained in the Registration Statement and Proxy-

  Prospectus to ensure that said statements were true and that there was no omission to state any

  material fact required to be stated in order to make the statements contained therein not

  misleading. In the exercise of reasonable care, Defendants should have known of the material

  misstatements and omissions contained in the Secondary Offering Filings and also should have

  known of the omissions of material fact necessary to make the statements made therein not

  misleading. As such, each of these Defendants are liable to plaintiff and the Class.

         211.    Each of the Defendants identified in Count I issued, caused to be issued and

  participated in the issuance of materially false and misleading written statements to the investing

  public that were contained in the Proxy Statement, which misrepresented or failed to disclose,

  inter alia, the facts set forth above. By reasons of the conduct alleged herein, each Defendant



                                                 103
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 104 of 114 PageID #: 104




  violated, and/or controlled a person who violated, § 11 of the Securities Act. As a direct and

  proximate result of Defendants’ wrongful conduct, the price for the Waitr common stock sold in

  the Secondary Offering was artificially inflated, and plaintiff and the Class suffered substantial

  damages in connection with their purchase of such Waitr common stock.

           212.   Plaintiff and other members of the Class acquired their Waitr stock without

  knowledge of the untruths and/or omissions alleged herein. Plaintiff and the other members of

  the Class were thus damaged by Defendants’ misconduct and by the material misstatements and

  omissions of the aforementioned Secondary Offering Filings.

           213.   This action was brought within one year after the discovery of the untrue

  statements and omissions and within three years of Waitr’s Secondary Offering of stock.

                                             COUNT II

                                          (Against Waitr)
                       For Violation of Section 12(a)(2) of the Securities Act

           214.   For the purposes of this Count, Plaintiff incorporates by reference those

  allegations concerning the parties, the Prospectuses, and the Securities Act claims only,

  consisting of those allegations contained and incorporated in Count I only. Any allegations of

  fraud, recklessness, knowledge, scienter or intent, are hereby expressly disclaimed and not

  incorporated by reference in this Count.

           215.   This Count is brought pursuant to Section 12(a)(2) of the Securities Act against

  Waitr.

           216.   For the purposes of this Count, Plaintiffs do not allege that Waitr had scienter,

  which is not an element of a Section 12(a)(2) claim.

           217.   By means of the defective Prospectuses, Waitr promoted and sold Waitr common

  stock to Plaintiff and the Class.

                                                 104
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 105 of 114 PageID #: 105




         218.    The Prospectuses contained untrue statements of material fact, and concealed and

  failed to disclose material facts, as detailed above. Defendant Waitr owed Plaintiff and the other

  members of the Class who purchased Waitr common stock pursuant to the Prospectuses the duty

  to make a reasonable and diligent investigation into the statements contained in the Prospectuses

  to ensure that such statements were true and that there was no omission to state a material fact

  required to be stated in order to make the statements contained therein not misleading. The seller

  of securities, in the exercise of reasonable care, knew or should have known of the misstatements

  and omissions contained in the Prospectuses as set forth above.

         219.    Plaintiff did not know, nor in the exercise of reasonable diligence could have

  known, of the untruths and omissions contained in the Prospectuses at the time Plaintiff

  purchased or otherwise acquired Waitr common stock.

         220.    By reason of the conduct alleged herein, Waitr violated Section 12(a)(2) of the

  Securities Act. As a direct and proximate result of such violations, Plaintiff and the other

  members of the Class who purchased Waitr common stock pursuant to the Prospectuses

  sustained substantial damages in connection with their purchases of the securities.

         221.    Plaintiff and members of the Class hereby tender their securities to the sellers and

  seek rescission to the extent that they continue to own such securities. Class members who have

  sold their Waitr common stock seek damages to the extent permitted by law.

                                            COUNT III

                            (Against Meaux, Fertitta, and Yurecko)
                           Violation of Section 15 of the Securities Act

         222.    Plaintiff repeats and re-alleges each and every allegation contained above as if

  fully set forth herein, except any allegation of fraud, recklessness or intentional misconduct,




                                                 105
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 106 of 114 PageID #: 106




  knowledge, scienter or intent, are hereby expressly disclaimed and not incorporated by reference

  in this Count.

         223.       This count is asserted against Defendants Meaux, Fertitta, and Yurecko and is

  based upon Section 15 of the Securities Act. As alleged herein, a primary violation of the

  Securities Act occurred, in that Defendants engaged in conduct in violation of Section 11 of the

  Securities Act.

         224.       Defendants Meaux, Fertitta, and Yurecko, by virtue of their offices, directorship,

  and specific acts were, at the time of the wrongs alleged herein and as set forth herein,

  Controlling Persons of Waitr within the meaning of Section 15 of the Securities Act. Defendants

  had the power and influence and exercised the same to cause Waitr to engage in the acts

  described herein.

         225.       Defendants Meaux, Fertitta, and Yurecko negligently, and without reasonable

  care regarding the accuracy of the information contained and incorporated by reference in the

  Secondary Offering Filings, lacked reasonable grounds to believe that such information was true,

  accurate and complete in all material respects at the time of the Secondary Offering.

         226.       Plaintiffs and the Class did not know, nor in the exercise of reasonable diligence

  could have known, of the untrue statements of material fact and omissions of material facts in the

  Secondary Offering Filings when they purchased or acquired their securities.

         227.       By virtue of the conduct alleged herein, the aforementioned Defendants are liable

  for the wrongful conduct alleged herein and are liable to Plaintiff and the Class for damages.

                                               COUNT IV

                   (Against Waitr, Jefferies, Handler, Meaux, Fertitta and Pringle)
                   Violations of Section 14(a) of the Securities Exchange Act of 1934




                                                   106
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 107 of 114 PageID #: 107




         228.      Plaintiff repeats and re-alleges each and every allegation contained above as if

  fully set forth herein, except any allegation of fraud, recklessness or intentional misconduct,

  knowledge, scienter or intent, are hereby expressly disclaimed and not incorporated by reference

  in this Count.

         229.      Defendants Waitr, Jefferies, Handler, Meaux, Fertitta, and Pringle were

  instrumental in the preparation of, were deemed to be participants in, and/or issued the Going

  Public Transaction Proxy/Prospectus (and related filings) with the intention of soliciting

  stockholder support for the Landcadia business combination. Each of these Defendants reviewed

  and/or authorized the dissemination of the aforementioned filings issued in connection with the

  Going Public Transaction.

         230.      In so doing, Defendants made untrue statements of fact and omitted to state

  material facts necessary to make the statements made not misleading. Each of Defendants Waitr,

  Jefferies, Handler, Meaux, Fertitta, and Pringle, by virtue of their roles as officers and/or

  directors or as an underwriter, were aware of the omitted information but failed to disclose such

  information, in violation of Section 14(a).

         231.      SEC Rule 14a-9, 17 C.F.R. § 240.14a-9, promulgated pursuant to Section 14(a) of

  the Exchange Act, provides:

            No solicitation subject to this regulation shall be made by means of any
            14D9 statement, form of 14D9, notice of meeting or other communication,
            written or oral, containing any statement which, at the time and in light of
            the circumstances under which it is made, is false or misleading with
            respect to any material fact, or which omits to state any material fact
            necessary in order to make the statements therein not false or misleading or
            necessary to correct any statement in any earlier communication with
            respect to the solicitation of a 14D9 for the same meeting or subject matter
            which has become false or misleading.




                                                 107
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 108 of 114 PageID #: 108




          232.    During the Class Period, these Defendants disseminated the false and misleading

  Proxy/Prospectus specified above, which failed to disclose material facts necessary in order to

  make the statements made, in light of the circumstances under which they were made, not

  misleading in violation of Section 14(a) of the Exchange Act and Rule 14a-9 promulgated

  thereunder.

          233.    Specifically, and as detailed above, the Proxy violates Section 14(a) and Rule

  14a-9 because it omits material facts concerning certain material information set forth in

  paragraphs 71 to 96 supra.

          234.    The omissions and false and misleading statements in the Proxy are material in

  that a reasonable stockholder would consider them important in deciding whether to support the

  Going Public Transaction. In addition, a reasonable investor would view a full and accurate

  disclosure as significantly altering the “total mix” of information made available in the

  Proxy/Prospectus and in other information reasonably available to investors.

          235.    By reason of the foregoing, the aforementioned Defendants have violated Section

  14(a) of the Exchange Act and Rule 14a-9(a) promulgated thereunder.

                                             COUNT IV

                      (Against Waitr, Meaux, Fertitta, Pringle, and Yurenko)
                          Violation of Section 10(b) of the Exchange Act
                            and Rule 10b-5 Promulgated Thereunder

          236.    Plaintiff repeats and re-alleges each and every allegation contained above as if

  fully set forth herein.

          237.    During the Class Period, Waitr, Meaux, Fertitta, Pringle, and Yurenko carried out

  a scheme and course of conduct which was intended to and, throughout the Class Period, did:

          (i)     deceive the investing public, including Plaintiff and other Class members, as

          alleged herein; and

                                                 108
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 109 of 114 PageID #: 109




         (ii)    cause Plaintiff and other members of the Class to acquire Waitr’s securities at

         artificially inflated prices.

         238.    In furtherance of this unlawful scheme, plan and course of conduct, the Company

  and the Individual Defendants, and each of them, took the actions set forth herein.

         239.    The Company and the Individual Defendants (i) employed devices, schemes, and

  artifices to defraud; (ii) made untrue statements of material fact and/or omitted to state material

  facts necessary to make the statements not misleading; and (iii) engaged in acts, practices, and a

  course of business which operated as a fraud and deceit upon the purchasers of the Company’s

  securities in an effort to maintain artificially high market prices for Waitr’s securities in violation

  of Section 10(b) of the Exchange Act and Rule 10b-5. Waitr and the Individual Defendants are

  sued either as primary participants in the wrongful and illegal conduct charged herein or as

  controlling persons.

         240.    Waitr and the Individual Defendants, individually and in concert, directly and

  indirectly, by the use, means or instrumentalities of interstate commerce and/or of the mails,

  engaged and participated in a continuous course of conduct to conceal adverse material

  information about Waitr’s financial well-being and prospects, as specified herein.

         241.    These Defendants employed devices, schemes and artifices to defraud while in

  possession of material adverse non-public information and engaged in acts, practices, and a

  course of conduct as alleged herein in an effort to assure investors of Waitr’s value and

  performance and continued substantial growth, which included the making of, or the

  participation in the making of, untrue statements of material facts and/or omitting to state

  material facts necessary in order to make the statements made about Waitr and its business

  operations and future prospects in light of the circumstances under which they were made, not



                                                   109
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 110 of 114 PageID #: 110




  misleading, as set forth more particularly herein, and engaged in transactions, practices and a

  course of business which operated as a fraud and deceit upon the purchasers of Waitr securities

  during the Class Period.

         242.    Defendants Waitr, Meaux, Fertitta, Pringle, and Yurenko were each primarily

  liable, and control person liability arises from the following facts: (i) the Individual Defendants

  were high-level executives and/or directors at Waitr during the Class Period and members of the

  Company’s management team or had control thereof; (ii) each of these Defendants, by virtue of

  their responsibilities and activities as a senior officer and/or director of Waitr, was privy to and

  participated in the creation, development, and reporting of the Company’s internal budgets,

  plans, projections and/or reports; (iii) each of these Defendants enjoyed significant personal

  contact and familiarity with the other Defendants and was advised of, and had access to, other

  members of Waitr’s management team, internal reports and other data and information about the

  Company’s finances, operations, and sales at all relevant times; and (iv) each of these

  Defendants was aware of Waitr’s dissemination of information to the investing public which

  they knew and/or recklessly disregarded was materially false and misleading.

         243.    Waitr    and   the   Individual   Defendants    had    actual   knowledge     of   the

  misrepresentations and/or omissions of material facts set forth herein, or acted with reckless

  disregard for the truth in that they failed to ascertain and to disclose such facts, even though such

  facts were available to them. Such Defendants’ material misrepresentations and/or omissions

  were done knowingly or recklessly and for the purpose and effect of concealing Waitr’s financial

  well-being and prospects from the investing public and supporting the artificially inflated price

  of its securities. As demonstrated by Waitr and the Individual Defendants’ overstatements and/or

  misstatements of the Company’s business, operations, financial well-being, and prospects



                                                   110
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 111 of 114 PageID #: 111




  throughout the Class Period, these Defendants, if they did not have actual knowledge of the

  misrepresentations and/or omissions alleged, were reckless in failing to obtain such knowledge

  by deliberately refraining from taking those steps necessary to discover whether those statements

  were false or misleading.

         244.    As a result of the dissemination of the materially false and/or misleading

  information and/or failure to disclose material facts, as set forth above, the market price of

  Waitr’s securities was artificially inflated during the Class Period. In ignorance of the fact that

  market prices of Waitr’s securities were artificially inflated, and relying directly or indirectly on

  the false and misleading statements made by Waitr and the Individual Defendants, or upon the

  integrity of the market in which the securities trades, and/or in the absence of material adverse

  information that was known to or recklessly disregarded by Waitr and the Individual Defendants,

  but not disclosed in public statements by these Defendants during the Class Period, Plaintiff and

  the other members of the Class acquired Waitr’s securities during the Class Period at artificially

  high prices and were damaged thereby.

         245.    At the time of said misrepresentations and/or omissions, Plaintiff and other

  members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

  and the other members of the Class and the marketplace known the truth regarding the problems

  that Waitr was experiencing, which were not disclosed by Waitr and the Individual Defendants,

  Plaintiff and other members of the Class would not have purchased or otherwise acquired their

  securities, or, if they had acquired such securities during the Class Period, they would not have

  done so at the artificially inflated prices which they paid.

         246.    By virtue of the foregoing, Waitr and the Individual Defendants have violated

  Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.



                                                   111
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 112 of 114 PageID #: 112




          247.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

  the other members of the Class suffered damages in connection with their respective purchases

  and sales of Waitr’s securities during the Class Period.

                                              COUNT V

                                 (Against the Individual Defendants)
                            Violation of Section 20(a) of the Exchange Act

          248.    Plaintiff repeats and realleges each and every allegation contained above as if

  fully set forth herein.

          249.    The Individual Defendants acted as controlling persons of Waitr within the

  meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

  positions, and their ownership and contractual rights, participation in and/or awareness of the

  Company’s operations and/or intimate knowledge of the false financial statements filed by the

  Company with the SEC and disseminated to the investing public, the Individual Defendants had

  the power to influence and control and did influence and control, directly or indirectly, the

  decision-making of the Company, including the content and dissemination of the various

  statements which plaintiff contends are false and misleading. The Individual Defendants were

  provided with or had unlimited access to copies of the Company’s reports, press releases, public

  filings and other statements alleged by Plaintiff to be misleading prior to and/or shortly after

  these statements were issued and had the ability to prevent the issuance of the statements or

  cause the statements to be corrected.

          250.    In particular, each of these Defendants had direct and supervisory involvement in

  the day-to-day operations of the Company and, therefore, is presumed to have had the power to

  control or influence the particular transactions giving rise to the securities violations as alleged

  herein, and exercised the same.


                                                  112
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 113 of 114 PageID #: 113




         251.    As set forth above, Waitr and the Individual Defendants each violated Section

  10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

  positions as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of

  the Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff

  and other members of the Class suffered damages in connection with their purchases of the

  Company’s common stock during the Class Period.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                 A.      Determining that this action is a proper class action, designating Plaintiff

  as Lead Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the Federal

  Rules of Civil Procedure and Plaintiff’s counsel as Lead Counsel;

                 B.      Awarding compensatory damages in favor of Plaintiff and the other Class

  members against all Defendants, jointly and severally, for all damages sustained as a result of

  Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

                 C.      Awarding Plaintiff and the Class their reasonable costs and expenses

  incurred in this action, including counsel fees and expert fees;

                 D.      Awarding extraordinary, equitable and/or injunctive relief as permitted by

  law, equity and the federal statutory provisions sued hereunder, pursuant to Rules 64 and 65 and

  any appropriate state law remedies to assure that the Class has an effective remedy; and

                 E.      Such other and further relief as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

         Plaintiff hereby demands a trial by jury.




                                                  113
Case 2:19-cv-01260-TAD-KK Document 1 Filed 09/26/19 Page 114 of 114 PageID #: 114




  Dated: September 26, 2019


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                                       114
